Case 2:20-cr-00134-RMP   ECF No. 78-6   filed 12/22/21   PageID.916 Page 1 of 45




                            EXHIBIT F

     Hearings before the Subcommittee
    of the Committee on Appropriations

                           U.S. Senate

                         March 25, 1953
20-cr-00134-RMP      ECF No. 78-6           filed 12/22/21         PageID.917 Page

  DEPARTMENTS OF STATE, JUSTICE, AND
  COMMERCE APPROPRIATIONS FOR 1954


                        HEARINGS
                              BEFORE THE

                 SUBCOMMITTEE OF THE
      COMMITTEE ON APPROPRIATIONS
         UNITED STATES SENATE
                  EIGHTY-THIRD CONGRESS
                            FIRST SESSION
                                    ON

                         H. R. 4974
      MAKING APPROPRIATIONS FOR THE DEPARTMENTS OF
        STATE, JUSTICE, AND COMMERCE FOR THE FISCAL
                    YEAR ENDING JUNE 30, 1954



          Printed for the use of the Committee on Appropriations




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                            UNITED STATES
                   GOVERNMENT PRINTING OFFICE
                          WASHINGTON : 1953
20-cr-00134-RMP          ECF No. 78-6          filed 12/22/21          PageID.918 Page
          STATE,   JUSTICE, AND COMMERCE APPROPRIATIONS,                1954       217
      (The information referred to follows:)
       Fees and expenses of witnesses, Justice-Simmary analysis of estimate
   Regular -----------------------------------------------------          $1,000, 000
   Supplemental ----------------------------------------------------         270, 000

         Total---------------------------------------------------        1,270,000
   Reductions----------------------------------------------------           --
   Additions----------------------------------------------------------
   Adjustment in base---------------------------------------------------
        Base for 1954 -------------------------------------------             1,270,000
   Estimate for 1954 ----------------------------------------------           1,200,000

         Decrease over base                                              --      70, 000

         Decrease over 1953 appropriation ----------------------------           70,000
     Mr. AINDRrrA. That is right, sir. We have no control over the
   number of the witnesses or the travel they make, and the distances
   they come or anything like that. We have to pay the regular statutory
   fees. This is an appropriation where we invariably come back for a
   supplemental request because there is no way really to estimate in
   advance how much we are going to need.
     For example, this year we have $1 million, and there was a supple-
   mental submitted to the House of $270,000 which, you will recall, the
   Attorney General withdrew. We are going to try to find the money
   somewhere else. There is nothing much we can do about that.
     Chairman BRmGEs. If there is nothing further, thank you very
   much, Mr. Andretta.
                   IMMIGRATION AND NATURALIZATION SERVICE

   STATEMENTS OF A. R. MACKEY, COMMISSIONER; E. A. LOUGHRAN,
     ASSISTANT; W. F. KELLY, ASSISTANT; A. C. DEVANEY, ASSIST-
     ANT; AND DALE FRANCIS, BUDGET OFFICER, IMMIGRATION
     AND NATURALIZATION SERVICE
                                AMOUNT REQUESTED

     Chairman BRIDGES. We will take up the Bureau of Immigration
   and Naturalization Service at this time. We have with us Mr. A. R.
   Mackey, the Commissioner, and several associates. Will you intro-
   duce them please, Commissioner?
     Mr. MACKEY. This is Allen C. Devaney, Assistant Commissioner of
   Inspections and Examinations; Willard F. Kelly, Assistant Commis-
   sioner, Border Patrol and Detention; E. A. Loughran, assistant; and
   his assistant, Dale Francis.
     Chairman BRIDGES. Thank you. In 1954, the official Truman esti-
   mate was $48,400,000, and the revised estimate is $42,725,000.
     Mr. MAcKEY. That is correct.
     Chairman BRIDGES. A cut of $5,675,000 and 716 jobs. The revised
   estimate exceeds the 1953 allowance by $2,446,000 and 466 jobs.
     We will place in the record at this point your analysis of revised
   estimate.
20-cr-00134-RMP             ECF No. 78-6                   filed 12/22/21                  PageID.919 Page
       218       STATE.      JUSTICE, AND COMMERCE APPROPRIATIONS,                                      1954

           (The information referred to follows:)
                SALARIES AND EXPENSES, IMMIGRATION AND NATURALIZATION SERVICE
                                     Analysis of revised estimate by activity
                                                                                                    Increase or decrease
                                                        1953adjusted              1954 revised       over 1953 adjusted
                        Activity
                                                      Posi-     Amount        Posi-     Amount       Pos-        Amount
                                                      tons                    tions                  tions

       1. Inspection for admission into the
            United States ---                        1,929 $10,924,100        2,095 $11,829,900       +166       +$905,800
       2. Detention and deportation ...........      1,493 11,047,300         1, 583 11, 132,000       +0             +84, 700
       3. N aturalization ------ ------------------ 699      3, 161,700          828  3, 719, 200     +129           +557, 500
       4. Patrol for detection of illegal entry ---- 1,220   6,809,300        1,209   6, 744, 300      -11            -65,000
       5. Investigating aliens' status ---         - 1,380   6, 976, 000      1,472 7, 550, 500        +92           +574,500
       6. Alien registration .....................              853, 700                 780,700                      -73,000
       7. Executive direction ...................        9       57, 100           9      59, 600                      +2,500
       8. Central administrative services -------      504   2,157,600          504   2,157, 600

             Total                     -              7,234    41,986,800    7,700 43,973,800         +466      +1,987, 000
       Deduct quarters and subsistence furnished-                 -decrease
                                                                    24, 10O ------- -24,100
       Reimbursements for services performed.-                  -109,000            -343, 700                        -234,   700
       Payments received from non-Federal
        sources......................                          -1,74,700      -         -881,000                     +693, 700
                                                               of
                                                               40, 279, 000 I 7,700
             Appropriation or estimate    ---------   7,234                            42,725,000     +466      +2,446,000
                                                 AnalysisAnalysis
                                                          of decrease
                                                                Personal services                            Total
                             Activity                                                    Other
                                                               Posi-                     items
                                                                         Amount                      Posi-      Amount
                                                               tions                                 tions

       1. Inspection for admission into the United Ststes
             (reduction represents 2 months deliy in Pub-
            lic Law 414 program; elimination of funds fvr
            space rental; adjustment to provide for equip-
            ping new employees; elimination of training;
            elimination of field administrative item; elimi-
            nation of item for erecting 3 border stations,
            and reduction In advisory personnel) .......        -9 1 -$99,900      -$47,800                     -$147,       70()
       2. Detention and deportation (reduction repre-
            sents elimination &ftrsinlift to Mexico; elimi-
            nation of Ellis Island power conversion; elimi-
            nation of entire increase for hearing officers,
            supporting clerical personnel and related ex-
            penses; elimination of field-adnrinistrstive
            item; reduction in detention-camp operations;
            reduction in supervisory personnel, and reduc-
            tion in amount to offset detention expenses
            shifted from carriers to the Government) ....            -- 498,100 1-, 781, 600     -103        J -2,     280,100
       3. Nsturslization (reduction represents 2 months
            deloy in Public Law 414 program; elimination
            of funds for space rental; adjustment to pro-
            vide for equipping new employees; reduction
            in supervisory personnel, and elimination of
            field administrative item)                                 -88,900       -4,800                          -93,    7011
       4 Patrol for prevention end detection of illegal
            entry (reduction represents elimina tion of en-
            tire increase in personnel end related expenses;
            reduction of $100,000 in amount for automobile
            replacements; eliminstiin of rll funds for tir-
            craft repl,coment, and elimination from bese
            of all funds for operating aircraft Including
            salrics and expenses) .....                       -346 1-1,371,000     -395.000      -346          -1, 766.000
       5. Investigating aliens' status (reduction represents
            a cutback in proposed Public Law 414 program
            including (a) a cut of 177 investigators, (b) 2
            months delay in balance of program, (c) elim-
            ination of funds for space rental and (d) adjust-
            ment to provide for equipping new employees,
            reduction in supervisory personnel, and elim-
             ination of field administrative item)        .   -265 1-1,172,100     -142,400      -255          -1,314,500
       6. Alien registration (reduction represents approxi-
             mately 25 man-years of temporary employ-
            ment and a reduced amount for contractual
            services) --------------------------------------             51,800       21,200 ......                     73, 000
       7. E xecutive direction -----------------------------
       8. Central administrative services ...............
             T otal reductions ------------------------------716       -3,282, 200 -2,392,800         -716     -5,675,000
                                                          +1,182
       Increases reflected, 1954 printed budget ------------           +5,372,200 +2,748,800        +1,182     +8,121,000

             Increase reflected, revised estimate ---.......    +466   1+2, 090. 00    +356, 000O    +466      +2, 446,.000
:20-cr-00134-RMP         ECF No. 78-6          filed 12/22/21            PageID.920 Page
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                        1954      219
                      ORIGINAL SUMMARY ANALYSIS OF ESTIMATE

           Salaries and expenses, Immigration and Naturalization Service
    Appropriation, 1953:
       Regular -------------------------------------------------      $40, 399, 000
       Transferred to "Salaries and expenses, general administration,
         Justice" -------------------------------------------------        120,000

            Adjusted appropriation for 1953---------------------                40, 279, 000
    Reductions (-) :
       1. Inspection for admission into the
             United States ------------------      $39, 400
       2. Detention and deportation ---------- 924,800
       3. Naturalization ----------------------      6,600
       4. Patrol for prevention of illegal entry-- 139, 100
       5. Investigating aliens' status ---------- 200, 700
                                                            -$1,    310, 600
    Additions (+) :
       2. Detention and deportation ----------- 540, 800
       5. Investigating aliens' status --------- 279, 100
                                                                   +819, 900

    Adjustment in base (net) ----------------------------------------                 490, 700

         Base for 1954------------------------------------------                39, 788, 300
    Estimate for 1954 --------------------------------------------              48,400,000

          Increase over base      ------------------------------                 8,611, 700

          Increase from total appropriation, 1953--------------------            8, 001,000
      Mr. Mackey, you have a statement, I understand. Do you want to
    highlight that for the committee, and then file the full statement as
    part of the record?
      Mr. MACKEY. I should like to.
      If it pleases the committee, I would like to take up each major
    activity of the Service, comment briefly upon what was accomplished
    with the money appropriated last year, mention the principal changes
    brought about by the new Immigration and Nationality Act, and ex-
    plain our needs under that act for the fiscal year 1954.

                    ACCOMPLISHMENTS OF INSPECTION SERVICE

       On Inspection, as to accomplishments, since the end of World
    War II the number of entries of aliens and citizens into the United
    States has increased by leaps and bounds. More than doubling the
    World War II figure, the volume during the past year for the first
    time passed the 100-million mark. There were 107 million entries
    at ports of entry into the United States, including United States citi-
    zens, aliens coming for the first time for permanent residence, and
    aliens returning to their homes, crewmen, and other aliens coming for
    temporary periods. By comparison with the prior year, there was
    an increase of 15 percent in alien entries and an increase of 10 percent
    in citizen entries.
20-cr-00134-RMP      ECF No. 78-6       filed 12/22/21     PageID.921 Page
       220   STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,         1954


                                 ALIENS ADMITTED

          Last year immigration officers boarded 98,000 arriving aircraft and
       62,000 ships. There were admitted to the United States 781,602
       aliens consisting of 516,082 nonimmigrants entering for temporary
       periods and 265,520 aliens admitted for permanent residence.
          Senator DIRKSEN. Will you pause there a minute?
          Mr. MACKEY. Yes, sir.
          Senator DIRKSEN. You say 781,000 aliens and 516,000 visitors and
       265,000 for permanent admittance?

                          TOTAL ETHNIC GERMANS ADMITTED

          Mr. MACKEY. That is right. The number admitted for legal per-
       manent residence is the highest since 1929, due chiefly to the admis-
       sion of 42,786 ethnic Germans under section 12 of the Displaced Per-
       sons Act of 1948, as amended.
          Senator DIRKSEN. Those were expellees?
          Mr. MACKEY. That is right, as well as 45 percent increase in non-
       quota immigration.
                                 ALIENS EXCLUDED

          The number of nonimnmigrant arrivals exceeded any single year
       since the first records of 1908. It exceeded the prior year by 11 per-
       cent, reflected chiefly increases in temporary visitors, transits, and
       foreign government officials. During the year 565 stowaways were
       found on arriving vessels and 16,167 aliens were held for exclusion
       and given hearings by boards of special inquiry. During the same
       period 5,050 aliens were excluded from the United States.
          Senator DIRKSEN. Let us get back to the 11-percent increase in
       I emporary transits and foreign government officials.
          Mr. MACKEY. Yes, sir.

                     ENTRY OF FOREIGN GOVERNMENT OFFICIALS

          Senator DIRKSEN. How much increase was there in foreign govern-
       ment officials coming in?
          Mr. MACKEY. Do we have the data available, Mr. Loughran?
          Mr. LOUGHRAN. Mr. Devaney has it.
          Senator DRKSEN. Is that broken down by countries?
          Mr. MACKEY. Mr. Devaney has the data..
          Mr. DEVANEY. There is the complete breakdown, Senator, by coun-
       tries [indicating].
          Senator DIRKSEN. There is nothing confidential in that, is there?
          Mr. MACKEY. No, sir.
          Chairman BRIDGES. If you will furnish a copy, we will make that a
       part of the record.
20-cr-00134-RMP                     ECF No. 78-6                           filed 12/22/21                    PageID.922 Page
             STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                                                     1954        221
      (The information referred to follows:)
   TABLE 3.-Aliens admitted, by classes under the immigration laws, years ended
                              June 30, 1948 to 1952
    IData exclude travelers between continental United States and insular possessions, border crosses, and
                        agricultural and railway track laborers admitted from Mexico]


                               Class                                     1948        1949         1950        1951        1952


                                                    646, 576
        Aliens admitted -------------------------------                             635, 589     676, 024    670, 823     781,602

        Imm igrants I ...........      ......................            170. 570   188,317      249, 187    205, 717     265, 520

    uota immigrants                                                      92, 526    113,046      197, 460    156, 547     194, 247
    onquota immigrants -----------------------------                     78, 044     75, 271      51,727      49, 170      71,273

      Husbands of United States citizens --------------        647                    3,239        1, 459         822          793
      Wives of United States citizens _.                   30, 086                   27, 967      12, 291      8, 685      16, 058
      Unmarried children of United States citizens.         0, 097                    4, 648       2, 525      1,955        2, 464
      Natives of nonquota countries -------------------37, 506                       35, 969      32, 790     34, 704      47, 744
          T heir w ives --------------------------------       316                       282          278         337          455
          Their unmarried children                 -           146                       143          170         233          209
      Ministers of religious denominations - -----------       782                       62.3         454         376          338
          Their wives                            -     --      367                       244          147         129           96
          Their unmarried children     -------------------     443                       366          2.32        228          146
      Professors of colleges, universities ----------------    505                       424          291         214          158
          Their wives -                                        238                       212          124         113           68
          Their unmarried children -----------------           254                       233          188         130           71
      Women who had been United States citizens ----           136                       110           86          39           32
      Other nonquota immigrants --------------------- 521                                811          692      1,205        2, 641

        Nonimmigrants --                                                 476, 006   447,272      426, 837    465, 106     516, 082

   Government officials, their families, attendants,
     servants, and employees -------------------------    16, 822                    13, 722      13, 975     20, 881      22, 267
   Temporary visitors for business -      -               78, 876                    73,338       67, 984     83,995       86, 745
   Temporary visitors for pleasure -_--                  206, 107                   225, 745     219, 810    230, 210     269, 606
   In continuous transit through the United States ..... 124, 780                    81,615       68, 640     72, 027      77, 899
   To carry on trade under treaty ---------------------- 711                             632          766         850          791
   Members of international organizations ..-.--------- 4,059                         4, 723       5,010       5, 526       5, 137
   Returning residents -------------------------------    32, 464                    36, 984      40, 903     44, 212      44, 980
                                 - - - - -
   Students ----------------------------------                  -   --    11,914     10, 481       9, 744      7,355        8, 613
   Other nonimmigrants ----------------------------                          273            32           5           50          44

     1An immigrant is defined in statistics of the Service as an alien admitted for permanent residence, or as
   an addition to the population. Therefore, students who are admitted for temporary periods and returning
   resident aliens who have once been counted as immigrants are included with nonimmigrants, although sec.
   4 defines such classes as immigrants.
20-cr-00134-RMP             ECF No. 78-6                      filed 12/22/21                       PageID.923 Page
       222         STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                                              1954

       TABLE 16.-Nonimmigrant aliens admitted, by classes under the immigration laws
                  and country or region of birth; year ended June 80, 1952

                                                            Temporary                                              Inter-
                                                           visitors for-                     To Return-
                                     Num-     Gov-                                 In      carry  ing
        Country or region of birth   her ad- officials
                                               em-                                                                 tina   Other
                                                                                                                     onal classes
                                     snitted  ient                               transit     on   resi-             of5i3
                                                          Busi-       Pleas-               trade dents
                                                          ness         ure


             All countries ---------
                                   516,082     22, 267    86, 745 269, 606       77, 899    791    44,980 8,613    5,137 1          44

             Europe ---- ---------
                                 203,781        9, 145    43, 224     76,180     42, 953    622    27, 628 1,569 2,459
       Austria,     --   --          3,523      84         1,088       1, 504        362      12     396     39       38      -----
       Belgium                       5,815     629         1, 119      1, 416     1,757       21     679     27      167    ------
       B ulgaria ------------------- 153          4            34          66         18 ------       20      6        5    ------
       Czechoslovakia ------------ 1,809        63            408         726        214       1     293     43       61    --.--
       Denmark --                   5,634      325         1,094      1,824       1,732      45      491     35       88    ------
      Estonia-                         210        9            31          65         56 ...   ..     37     10        2    ------
      F inland -------------------- 1,931       47           418          527        744     25      148     16        6     -----
      F rance ---------------------18,427   1,351         5,401       4,465      3,668       11   2,794    123      614     -----
      Germany -        -      -    17,268      249        5,855       6,171       1,723        8  2,991    212       59     -----
      Greece                        3,097     324            584      1,040         504      21      372   217       35     ------
      Hungary                       1,530       60           330          652       217 ------       225    34       12     ------
      Ireland ----                  4.077       61           366      1,585         639        1  1,403       6      16       -----
      Italy. ---                   10,042     803         2,461       2,851      1,954       52   1,763     86       72     ------
      L atvia --------------- ---      394       8             94         172         52 -----        62      4        2    ------
      Lithuania ---                    807       8           187         475          70 ------       64      3-
      N etherlands ----------------11,212     638         2,705       3,289      3,364         1    971     99      145      -----
      Norway                        6,991     439         1,215       1,833      2,466       24     860     85       69     ------
      Poland ---       -            7, 886    216         1, 689      4,052         669       8   1,113     99       40     ------
      Portugal                      1,382     223            223         311        250       1     335     23       16    ------
      Rumania-                      2.076       36           457      1,163         212       6     154     39        9    --.--
      Spain                       10,382      178         1,583       4,906      2,995       60     482     92       86    ------
      Sw eden --------------------  5,857     218         1,474       2,356         768 ----        943     33       65    ------
      Switizerland ---------------5, 528      152         1,502       1,823         942      67     953     29       60    ------
      United Kingdom:
           England                52, 702  2.070          9,764 21,257          11,888     207     6,911    64      541 ------
          North Ireland ----------1,866        31           177    878             355       4       403     6       12 ------
           Scotland               12,303      173         1,326  5,736           3,296      24     1,694    10       44 ------
          W ales .................  1,725      56           257    780             352      10       256     2       12 ------
      U.S.S. R                     5,023      242           673  3,099             453       4       400    28      123      1
      Yugoslavia ----------------- 952        335           111    225              95       2       149     9       26 .....
      Other Europe                 3,179      113           598    933           1,138       7       266    90       34 ----

            Asia                     27, 404   3, 230     7.478       5,140      5, 348     31     2,987 2,545     645     ------
                                   4,688
       C h ina ----------------------            157        547         462      2,791     8         134  391      198     ------
      In d ia ----------------------
                                   2,717         252        901         581        417    10         100  315      141     ------
      Japan                        6,034         345      2,011         563        958 -.---       1,841  307        9     ------
       Palestine -------------------641           12        140         266         69 -----         50 100          4     ----
       Philippines                 3,600         586      1,199         817        109 -----        417   393       79     ------
       Other Asia ................ 9,724       1,878      2,680       2,451      1,004    13        445 1,039      214     --.--

            North America ------224,229        4,962     25,817     156,781     21,424      54    11,454 2,806     888             43

      Canada.................    87. 623         935      8, 996 64, 882         9, 943           1.570    980
      Mexico                  -- 32,120        2,128      5, 468 19, 851         3,.575              469   449
      West Indies                82,855        1,071      9,334 56,967           6,445            7,891    817
      Central America -----------13.189          715      1,436   8. 006            998           1,370    535
      Other North America ----    8,442          113         583  7,075             463              154    25
      South America -------------41,385        3,157      6,303 23,996           4,039            1,756 1,380
      Africa .......              3.763          343      1,097  1,220             409              336   214
      Australia and New Zealand.  8, 093         394      2, 297 2, 568          2,023              559    85
      Other countries ..........  7, 427       1,036         529 3,701           1,703              260    14

         Mr.    MACKEY.        Over 76,000 reentry permits were issued or extended
      as compared with some 69,000 the year before.
                                      NEEDS UNDER PUBLIC LAW 414

         Next is the 1954 needs for Public Law 414.
         The detailed effects of the Immigration and Nationality Act upon
      the activity of inspection are spelled out in the formal justifications
      before you. At this point I shall touch only upon those which I con-
      sider the most import nt from the standpoint of effect upon budgetary
      requirements.
20-cr-00134-RMP        ECF No. 78-6        filed 12/22/21      PageID.924 Page
          STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,          1954 223
      As to visa petitions, under the Immigration and Nationality Act,
   all immigrants coming to the United States, with comparatively few
   exceptions, must be beneficiaries of approved visa petitions filed in
   their behalf with the Immigration and Naturalization Service. This
   represents a new trend in immigration legislation inasmuch as these
   persons formerly made their applications for immigration visas
   directly to American consuls, officials of the State Department, in
   foreign countries where they desired to obtain their visas. Since any
   delay in processing these applications would seriously affect the nor-
   mal flow of immigration into the United States and work considerable
   hardship on petitioners, these petitions must be examined and proc-
   essed as quickly after receipt as possible.
      Senator DIRKSEN. YOU mean there is a departure from the old
   system of getting your visa approved by a consul abroad?
      Mr. MACKEY. That is right; 50 percent of the quota is made avail-
   able on a preference status to those aliens of particular skills and
   training.
      Senator DIRKSEN. Where do they apply for the visa?
                          VISA GRANTED BY PETITION

      Mr. MACKEY. They apply by way of petition to the Immigration
   and Naturalization Service.
      Senator DIRKSEN. To the Service, not to the consul?
      Mr. MACKEY. That is right. After they have applied to us and we
   have cleared with other Government agencies as to the need of that
   type of skill or labor in the United States, then we pass on the petition,
   either approving or disapproving it.
      Senator DIRKSEN. I am thinking of the administrative picture.
   Do you have a man abroad in these offices?
      Mr. MACKEY. No, sir; I do not.
      Senator DIRKSEN. Those all come in by mail?
      Mr. MACKEY. Most of them come in by mail, and they are handled
   by Mr. Devaney and his Division.
      Mr. DEVANEY. May I say, Senator, that the petition as to the first
   50 percent under the annual quota for each year has to be filed by
   an employer in the United States. As to the remaining preference
     roups relating to American citizens, lawfully resident aliens, and
   brothers and sisters, the remaining part of the quota, most of those
   cases are in the United States, so the petition is likewise executed and
   filed with us.
                            BACKLOG IN PETITIONS

      I might say on that particular point, if I may, while we are dealing
   with visa petitions, that we have had a tremendous backlog. At the
   close of February, we had on hand 11,500 visa petitions backlog.
      Senator DIRKSEN. In that 50 percent area?
      Mr. DEVANEY. No; in the whole area of petitions. That is due to
   the fact that we have been operating under the Immigration and
   Nationality Act since December under our old fund. We have been
   taking steps to cut our proceedings to handle it. But I do not see
   how we can, unless additional funds are made available.
     Senator DIRKSEN. Go ahead, Mr. Mackey.
        31759-53-15
20-cr-00134-RMP      ECF No. 78-6         filed 12/22/21      PageID.925 Page
       224    STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,           1954

                                 EFFECT OF NEW LAW

         Mr. MACKEY. Based upon statistical records reflecting the average
       of the past 5 fiscal years this new provision of law will add approxi-
       mately 73,000 visa petitions to the annual workload of the Service.
       To handle this increase, we need 23 adjudicators and 23 clerks (pp.
       60 and 61 of the justifications).

                            INSPECTION AT PORTS OF ENTRY

          On the inspection at ports of entry, under the Immigration and
       Nationality Act, new requirements and controls over the admission of
       alien seamen have been enacted. This legislation requires the inspec-
       tion, in considerable detail, of every seaman applying for admission
       to the United States under all laws relating to the excAusion of aliens
       and the issuance of documents authorizing shore leave in appropriate
       cases. Neither of these requirements existed in earlier legislation.
       Since many of the larger ships arriving in the United States have
       crews as large as 1,200 men and remain in port for less than 24 hours,
       examination of these crewmen cannot be deferred. For this new work,
       as well as the additional time required for inspecting other arrivals at
       ports of entry in connection with new grounds for exclusion, there is
       required the time of 50 immigrant inspectors. However, the new law
       also establishes a procedure under which the secondary inspection will
       be accomplished by only 1 officer in contrast to prior procedure where 2
       officers were required. This releases the time of 45 officers, so that the
       net increase required for inspection at ports of entry is 5 officers and
       5 clerks. That is on pages 63 to 65 of the justifications.
                               INSPECTIONS EN ROUTE

         Senator MCCARRAN. Let me ask you right there, you have had in-
      spectors on the vessels en route, have you not I
         Mr. MACKEY. We have, Senator; yes, sir.
         Senator MCCARAN. And that facilitated the matter considerably,
      did it not?
         Mr. MACKEY. It did, sir. We sat down with representatives of the
      steamship lines, as well as those representing the seamen's unions,
      and we worked out this procedure primarily to assist the lines in main-
      taining their sailing schedules. We placed inspectors on the ships
      and they would inspect the crew, both going abroad and returning to
      the United States, so that when the final inspection was made at the
      port of entry, the inspector had all of the information deemed neces-
      sary to make that final inspection.
         Senator McCARsAN. That worked out pretty well. At first it created
      quite a furor.
         Mr. MACKEY. It did cause some misunderstanding. But as I say,
      we did sit down with the lines and the representatives of the seamen's
      unions and we were all in agreement as to this new procedure.
         Senator McCARRAN. I might say for the record and for the benefit
      of the committee that this provision was studied very closely and put
      in the law because seamen determined by evidence uncontradictable
      had been used as couriers for the Communist agencies abroad. They
      came to our country posing as seamen, and then some would jump
20-cr-00134-RMP      ECF No. 78-6        filed 12/22/21     PageID.926 Page
         STATE,   JUSTICE, AND COMMERCE APPROPRIATIONS,       1954   225
   ship and become active participants in the Communist movement in
   this country. It was necessary to do something to try to prevent this.
   So this provision was put in the law. On the 24th of December, when
   the bill became effective, there was a temporary furor over it because
   some of the seamen on a French vessel were not permitted to land.

                           EFFECT OF PROCEDURE

      Mr. MACKEY. Right there, Senator McCarran, I should like to say
   that the beaches are clearer today of overstayed seamen than at any
   time in the last 20 years.
      Senator MCCARRAN. When you use the term "overstayed," you mean
   seamen who jump ship?
      Mr. MACKEY. We mean those remaining longer than permitted by
   the law.
      Senator DIRKSEN. How did you check it in other years?
      Mr. MACKEY. In other years we had no powers under the then
   existing law.
      Senator DIRKSEN. You have really no base against which to make
   a comparison, do you?
      Mr. MACKEY. Yes, sir. We do not pick up as many remained
   longer seamen today. Under existing law, they are permitted to
   remain as long as their ship is in port, but in no case for a period of
   more than 29 days. Of course, in emergencies we extend that shore
   leave.
      Senator DnIKSEN. In other years you had X number of arrivals of
   seamen, for example.
      Mr. MACKEY. That is right.
      Senator DIRKSEN. You had no check of the crews at departure?
      Mr. MACKEY. A seaman cannot land for shore leave unless he is
   given a landing card by the inspector.
      Senator DIEKSEN. But there is no good figure to indicate how many
   actually did jump ship and stay here in other years?
      Mr. KELiLY. Yes, sir.

                           CHECK ON CREW LIST

      Senator DRKSEN. How did you check it?
      Mr. DEVANEY. When a ship arrives, the incoming crew list shows
   the number of seamen on there. When the ship goes out, the master
   is required under law to submit changes in crews. That is one source
   of information of the number of seamen that deserted. It may be
   that they went out with some other ship. But, in addition to that,
   we know through the years, Senator, that the seaman route has been
   a favorite route for people to come here and stay. We know that from
   the deportation process.
      Senator DIRSEN. You had to take the master's word?
      Mr. DEVANEY. Yes. There was a fine on him unless he carried out
   his responsibility under the law.
      Senator DIRKSEN. I have had a good many come to me. At long
   last they had to disclose themselves through social security because
   their identity was revealed finally, and then I discovered that they
   were seamen who had jumped ship and had been in the country a good
   many years. I have always been curious as to how many there were
20-cr-00134-RMP     ECF No. 78-6        filed 12/22/21      PageID.927 Page
      226    STATE, JUSTICE,   AND COMMERCE APPROPRIATIONS,        1954

       and how accurate your check was. You did not actually check them
       aboard ship when a vessel got ready to depart?
         Mr. DEVANEY. No; unless they were unusual cases, the routine was
      not to check them out. It was a requirement on the master to give
      changes in the crew. The point on the seaman today, under the Immi-
      gration and Nationality Act under which we are operating today, it
      is the feeling of the Service, and I am sure shared by the Commis-
      sioner, that we have far better control today than we ever had in the
      seaman problem, simply because of a much closer inspection, and, too,
      we restrict them as to the type of entry they have. As the Commis-
      sioner says, only while the ship is in port. We try to keep most of them
      down to that. The others can stay as long as 29 days and reship on
      some other ship.
         Mr. MACKEY. That is right.
         Mr. DEVANEY. We know from the reports from our various districts
      that it is not as easy as it used to be to find overstayed seamen on the
      beaches.
         Senator DIRKSEN. If the penalty on the matter is high enough, he
      will make sure he takes out the same crew he brings in.

                           NOTIFICATION OF DISCHARGES

         Mr. DEVANEY. That is right. Of course, the master cannot pay off
      a seaman today under the law or cannot discharge them unless he noti-
      fies the immigration officer he is going to do so. That, of course, is
       always a key as to whether or not the seaman may stay on here. Those
      things we did not have before under the old seaman law, but we have
      that today, and it is an effective weapon.
         Senator DIRKSEN. You think it is a good thing?
         Mr. DEVANEY. Very definitely.
         Senator DIRKSEN. That is in contradistinction to some of these com-
      plaints and criticisms that were made in the first days when the new
      act became effective.
         Mr. DEVANEY. Could I say a word to that, sir?
         Senator DIRKSEN. I would like to have it, and I would like to have
      it in the record.
         Mr. DEVANEY. As Mr. Mackey indicated, before the act went into
       effect, we met with the Transatlantic Passenger Conference. We
      knew, when the act went into effect on December 24, New York Har-
       bor would be jammed with ships because we did not have the inspec-
       tors to do the job that we wanted to do and were required to do. So
      we put the inspectors on the ships.
         Now, it is true that in the early days of that inspection process some
      of the officers perhaps were a little overzealous in the questioning;
      perhaps they did ask some of the women stewardesses on the ships
      whether they had ever engaged in certain immoral acts. As soon as
      we found that out-it was a perfectly proper question under the law-
      we asked them to use a little discretion in putting such questions to
      the seamen.
                               COMPLAINTS UNDER ACT

       In addition there were complaints that under the Immigration and
      Nationality Act, even if a seaman after arrival here had been here
      more than 29 days or over the required period of 29 days, the Immi-
20-cr-00134-RMP       ECF No. 78-6        filed 12/22/21     PageID.928 Page
          STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,          1954   227

   gration Service, if they were sick, were picking them up and putting
   fhern on the island and in our various detention quarters.
      I checked on the cases personally that were represented to us by the
   unions. I was unable to find one case of one seaman where that was
   involved. As soon as it was ascertained, in the one particular case
   they were referring to, he was placed in a Public Health Hospital.
   The statute limits the stay for seamen in the United States to 29 days,
   with no extensions permitted, and we want it that way for the simple
   reason that, if you formalize a proceeding and allow a seaman to ap-
     ly for extension perforce of time, he will get it himself because we
     o not have the staff to handle it.
      If an emergency comes up, saying if he has to stay for hospital
   treatment or if there is some other type of emergency, administra-
   tively we give him a little time to leave the United States.
      Senator DmKSEN. But very particularly the charge was made that
   because your inspectors and field operators would ask the seaman,
   "Are you a Red? have you ever belonged to the Communist Party?
   have you ever been identified with this or that?" that there was a com-
   plete demoralization of the maritime service. You do not agree with
   that at all ?
      Mr. DEVANEY. I do not, definitely, sir.
      Senator DIRKSEN. Let us look at the other side of the picture for
   the record. The allegation was made that there was inconvenience,
   damage and pecuniary loss to ship owners, and to shipping generally,
   because of the time involved in going through the inspection there
   of the crew. What is your comment on that?
                     INSPECTION WORKLOAD ANTICIPATED

     Mr. DEVANEY. As I said, we met with the Transatlantic Passenger
   Conference at the start of the Immigration and Nationality Act, and
   I met with them the other day, with operator representatives of the
   service, in New York, and they said they were extremely pleased with
   the way the whole project had been handled, that is our "ride the ship"
   project. We had to tell them for the summer months we could not
   continue the project for the reason we do not have a sufficient number
   of inspectors.
     It is anticipated that this year because of the coronation we will
   perhaps have the largest inspection work we have ever had in the
   New York District. We have two new ships, carrying in the neigh-
   borhood of 1,500 to 2,000 passengers, with new crews to examine.
   Because of that, we are not going to attempt to ride the ships. That
   would be too many inspectors out of the port at one time. What we
   are going to try to do, if we do not get the additional help, is to milk
   employees off other areas of work and we do not like to do that be-
   cause they are not experienced in this field of work.
     Senator DiRKSEN. But assuming a modest increase in help, there
   will be no inconvenience to shipping and these allegations that have
   been made are actually without foundation.
     Mr. DEVANEY. That is right, sir.
     Senator MCCARRAN. How about the seamen's unions, have yeu met
   with them?
     Mr. DEvANEY. Yes, Senator.
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.929 Page
        228 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
                              ENDORSEMENT BY UNIONS

          Senator MCCARRAN. What is the condition as to satisfaction there?
          Mr. DEVANEY. There are two groups of unions, the International
       Seafarers Union with headquarters in London and representatives in
       the United States, and they deal with seamen on foreign flag ships, as
       distinguished from our ships. We met with them and representatives
       of the State Department. We told them what our plan was. They
       first felt that perhaps we were being a little too harsh in the matter
       of allowing seamen to transship from oue ship to another in the
       United States, but I definitely feel and not to draw out the testimony
       too long, that the representatives of the union, as you know, have
       endorsed the Immigration and Nationality Act. There have been
       some few individual complaints, and we have begged them to bring
       those complaints to us, which they have done, and I think we have
       effectively handled them.
          On the American flag ships, the Seafarers Union, with headquarters
       in San Francisco, they do have a problem and we have talked to repre-
       sentatives of both the Senate and House committees concerning the
       seamen who have been on American flag ships for upwards of 3 years.
       They have had security clearances, there is no problem there. Most
       of them are family men. This act does inflict somewhat of a hardship
       on them. In some of the individual cases we may be able to give them
       relief under existing law, and we are attempting to do that. As to
       other individual cases, it may call for legislation to help them. But
       both committees are thoroughly familiar with that situation.
          Chairman BRIDGES. You may proceed.

                                 CHANGE OF STATUS

          Mr. MACKEY. The new act provides for a mandatory change of
       status from permanent resident to nonimmigrant. Section 247 of
       the new law requires change of status of lawfully permanent resident
       aliens to that of nonimmigrants if such aliens had at the time of entr{
       or subsequently acquire an occupational status of Government officials
       treaty trade, or official of an international organization-unless the
       alien signs a waiver of his diplomatic rights and immunities. Then,
       of course, his is thrown into the nonimmigrant status, which will
       require him to leave the United States as soon as his status has
       terminated. We found that very effective and something which we
       needed for a long time.
          Senator DIRESEN. How many do you have in that category?
          Mr. DFVANEY. I do not think at this point we can give you statistics,
       Senator, because there has been some question as to the applicability
       of the statute to certain individuals, those attached to the United
       Nations.
          Senator DIRKSEN. Can you give us a guess?

                                 DIPLOMATIC STATUS

         Mr. DVA-EY. It would be very much of a guess. To my knowledge
       I would know in the neighborhood of 50 cases, but I am sure it is far
       in excess of that. We are at this moment going through the records
       of the State Department, and our own records, to see what individuals
20-cr-00134-RMP       ECF No. 78-6        filed 12/22/21     PageID.930 Page
          STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,          1954   229
    we can find from our own records that have been lawfully admitted
    to the United States for permanent residence, and who at the same
    time are enjoying a diplomatic status. As soon as we have compiled
    that we intend to, of course, go into their individual cases.
      Te point is that they are arising at this time. When an individual
    applies for a reentry permit to the Service, and we find he is in a
    diplomatic category, we do not issue a permit to him, and he has to
    make up his mind as to what action he is going to take. That is the
    50 cases I have in mind.
      Senator DIRKSEN. I wondered, because you were asking for 12
    adjudicators and 12 clerks.

                          OTHER APPLICATION WORK

      Mr. MACKEY. Other application work. Another new requirement
   under the Immigration and Nationality Act is that petitions must be
   filed for importation of nonimmigrant aliens:
      1. Who are of distinguished merit and ability, or
      2. Who are coming to perform temporary services or labor, or
      3. Who are industrial trainees.

                       REVOCATIONS OF VISA PETITIONS

     Also, statutory authority has been provided for the first time for
   revocation of visa petitions which have been approved for immigrants
   and nonimmigrants. The new law enlarges the classes of aliens
   requiring permission to reapply for admission to the United States
   by adding (1) aliens removed as alien enemies and (2) aliens removed
   at Government expense in lieu of deportation. For these phases of
   the additional work and its central direction there are needed 10
   adjudicators and 10 clerks. That is on pages 61 to 67 of the
   justifications.
                               CENTRAL INDEX

      As to the central index, the new law requires that there be estab-
   lished in the central office a central index of all persons admitted to
   the United States or excluded therefrom. This index is to be used
   primarily for security and other law-enforcement agencies of the Gov-
   ernment. Under prior law, no record of admission was created in the
   cases of the vast majority of aliens crossing the land borders from
   Canada and Mexico.
      The Service will be required to obtain information from aliens,
   variously estimated from two to ten million persons, to be indexed in
   the central office. Our estimate of the additional clerical personnel of
   58 positions is based upon an estimated annual workload of 3,800,000
   index cards consisting of 400,000 records of individual crewmen,
   3,000,000 records of individual crossers from Canada, and 400,000 rec-
   ords of holders of border-crossing identification cards. The estimate
   provides only for the additional clerical time involved. No specific
   provision has been made for the additional time which inevitably will
    e required of officers. See pages 53 to 59 of the justifications.
      Senator DIRKSEN. Three million and eight hundred thousand index
   cards?
      Mr. MACKEY. Yes, sir.
20-cr-00134-RMP      ECF No. 78-6       filed 12/22/21     PageID.931 Page
       230   STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,          1954

         Senator DIRKSEN. Four hundred thousand of individual crewmen?
         Mr. MACKEY. That is right.
          Senator DIRKSEN. Have you so much turnover that that is going to
       develop a permanent workload over a long period of time, or once the
       thing has been set up, the maintenance operation can be done with just
       a few people? You are asking for 58 here.
          Mr. DEVANEY. In order to have the central index effective, Senator,
       you just cannot rest on your oars on the one entry made by the seaman,
       because if he switches from port to port, and if an intelligence agency
       wishes to know whether or not Joe Smith came into the United States,
       one card might show that he came in at New York on such and such a
       ship, and they might be interested in knowing whether or not he came
       in at New Orleans. It is a question of keeping the thing current on
       the vessel on which he entered plus the port he entered. That is why
       it will be a continuing operation.
          Senator DIRKSEN. I am curious whether this is going to be a manual
       job or a tabulating machine job.
          Mr. LOUGHRAN. It will be a manual job.

                                  BORDER CROSSERS

         Senator DIRKSEN. What about the border crossers? They operate
       on 30-day cards; do they not?
         Mr. MACKEY. In Canada and Mexico; yes.
         Mr. DEVANEY. On the Canadian border, a Canadian citizen or a
       British citizen lawfully domiciled in Canada is not required to have a
       crossing card. The Canadians have resisted that definitely. We have
      not insisted on it.
         Senator DIRKSEN. Does not everybody who comes across the bridge
      up there have to have a 30-day card?
         Mr. DEVANEY. No. A Canadian citizen or British citizen domiciled
      in Canada, if he says to our inspector that he is bona fide, can enter
      the United States without documentation provided he is not to stay
      more than 6 months. On the Mexican border, we require it.
         Senator DIRKSEN. How do you catch him if he does not go back?
         Mr. DEVANEY. The only way is apprehension. If he attempts to
      visit one of our offices he has to furnish his change of address every
      so often under the Alien Registration Act. There are various ways.
      Through apprehension alone.
         Senator DIRKSEN. He could get lost in farm work or industrial
      work today.
         Mr. DEVANEY. Yes.
         Senator MCCAR AN. On that subject, may I inquire about how many
      aliens one way or another are here illegally? Can you give us a fair
      estimate of that?
         Mr. DEVANEY. I cannot.
         Senator MCCARRAN. You would not attempt to?
         Mr. DEVANEY. No, sir. I would not attempt to. I think it has
      been attempted in the past without any real justification for it. Sena-
      tor, knowing the number of Mexicans alone that are crossing the bor-
      der daily in an illegal status, and will continue to do it, undoubtedly,
      it would be an impossibility to estimate. I do not think anyone could.
         Chairman BRIDGEs. Do you have any record of the Puerto Ricans
      coming here?
20-cr-00134-RMP     ECF No.
           STATE, JUSTICE, AND 78-6  filed APPROPRIATIONS,
                                COMMERCE   12/22/21 PageID.932
                                                           1954 231 Page
         Mr. DEVANEY. Only on a very limited manifest furnished by the
      airlines.
         Chairman BRIDGES. They just come and go as they please?
        Mr. DEVANEY. That is right.
        Mr. MAcxxY. They are citizens of the United States.

                              ENTRY OF SUBVERSIVES

          Senator DIRXSEN. But Mexico and Canada as areas of entry-I am
      not speaking of Mexican people or Canadians, but as an area of entry-
      certainly could furnish us a lot of undesirables. If a man can put
      up a good front as he crosses the bridge and your man looks at him
      and simply says, "He looks all right to me," he has no card, you ask
      for no identification, he could have been in Canada from some for-
      eign source, he might be thoroughly undesirable, and once he gets
      here he is lost in the industrial center or some farm occupation, and
      here he is, and from that point he can start, unless by sheer accident
      there should be an apprehension.
          Mr. MACKEY. I might correct that, Senator. We do ask for identi-
      fication in all cases. The inspector must be satisfied that he is either
      a native citizen of Canada or a British citizen lawfully domiciled in
      Canada.
          Senator DIRKSEN. But to a subversive it would be very easy to
      obtain the necessary identification because he knows how to handle
      it.
          Mr. MACKEY. That is right.
          Chairman BRIDGES. How do you know that the people get in ille-
      gally? As Senator Dirksen suggested, sometimes they have to go
      under social security. How does that come to your attention?
          Mr. MACKEY. Under the law, the new law, the records of the Fed-
      eral Security Agency are made available to the Immigration Service
      in that respect.
          Chairman BRIDGES. But in applying for a social-security card, do
      they have to furnish a birth certificate? Suppose Joe Doakes applied
      for a social-security card, and went to work, and says he was born
      in Lakeland, Fla. You have no way of checking on him unless he
      tells the truth to Social Security, do you?

                        ALIEN'S NATIONALITY    NOT SHOWN

         Mr. DEVANEY. Unfortunately, from our standpoint, the Social Se-
      curity records at the present time do not show the alien's nationality.
      We have been negotiating with them hoping that they would amend
      their form in some way to obtain this information so we can give full
      effect to this provision in the Immigration and Nationality Act.
      Today their records are not much help to us.
         Senator DIRKSEN. At that point, Mr. Chairman, I might say that
      they have always maintained such high restriction and secrecy on the
      social-security records.
         Mr. DEVANEY. That is right.
         Senator DIRKSEN. Are those records made freely available to you!
         Mr. DEVANEY. They have not been so far. We are hopeful they
      will be. We have been negotiating with them to have those records
      made available, not only made available but more effective.
20-cr-00134-RMP         ECF No. 78-6           filed 12/22/21         PageID.933 Page
      232    STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                    1954

       Chairman BmrDGES. At this point in the record we will insert a
      memorandum received from the Acting Commissioner on the imple-
      mentation of section 290 (c) of the Immigration and Nationality Act.
        (The memorandum referred to follows.)
                                     UNITED STATES DEPARTMENT OF JUSTICE,
                                     IMMIGRATION AND NATURALIZATION SERVICE,
                                                 Washington 25, D. C., April 1, 1953.
      Memorandum in re: Implementation of section 290 (c) of the immigration and
         Nationality Act (which requires the Federal Security Agency to furnish the
         Immigration and Naturalization Service information from social-security
         records).
         Representatives of this Service and of the Dederal Security Agency have been
      conferring with a view to working out an arrangement, mutually satisfactory
      to both agencies, whereby this Service will be able to obtain the information from
      social-security records which section 290 (c) of the Immigration and Nationality
      Act requires the Federal Security Agency to furnish.
          Two conferences have been held to date between representatives of the two
      agencies, the first at Baltimore on December 9, 1952; the second on January 16,
      1953, at Washington, D. C. These conferences have been supplemented by a num-
      ber of telephone conversations. The conferees have explored informally the
      extent to which they can agree and have considered certain alternative means of
      implementing section 290 (c).
          The social-security records referred to in section 290 (c) are maintained by
      the Federal Security Agency's Bureau of Old-Age and Survivors Insurance. The
      conferees representing the Federal Security Agency were all from that Bureau,
      with the exception of one representative of the Federal Security Agency's Office
      of the General Counsel.
          Section 290 (c) contains two distinct provisions: one requires the Federal
       Security Agency to notify the Attorney General "upon request whenever any
      alien is issued a social-security account number and social-security card"; the
      other requires the Federal Security Agency to furnish "such available informa-
       tion as may be requested by the Attorney General regarding the identity and
       location of aliens in the United States."
          With respect to the first portion of section 290 (c), there was a direct conflict
      of view between the representatives of the Bureau of Old-Age and Survivors
      Insurance and the representatives of this Service, as to whether it requires that,
      following a blanket request of the Attorney General, the Federal Security Admin-
      istrator must thereafter automatically furnish to this Service notification of the
      issuance of a social-security account number and caral to any alien. The repre-
      sentative of the Ilderal Security Agency's Office of the General Counsel made it
      clear that the view on this point expressed by the representatives of the Bureau
      of Old-Age and Survivors Insurance was strictly the view of that Bureau, alone,
      and that the Federal Security Agency has not yet considered the question.
         With respect to both portions of section 290 (c), the representatives of the
      two agencies also differed as to which agency was required to bear the cost of
      furnishing the information required to be supplied this Service by the Federal
      Security Agency under these provisions.
         The Federal Security Administrator has not yet had an opportunity to consider
      the matter. This Service has been advised that the Administrator desires to see
      a mutually satisfactory arrangement worked out between the two agencies. The
      Bureau of Old Age and Survivors Insurance is preparing a report to the Federal
      Security Administrator as to the alternative means considered by the conferees
      of achieving the objectives of section 290 (c). It is understood that this report
      will be submitted to the Administrator within the next 10 days.
         The areas of agreement and disagreement between the conferees as to the two
      portions of section 290 (c) are separately discussed below.
      PART 1. AUTOMATIC NOTIFICATION     WHENEVER AN ALIEN OBTAINS     A   SOCIAL SECUaRrY
                                 ACCOUNT    NUMBER   AND   CARD

        The view of this Service as to the meaning of the first portion of section 290
      (c), as expressed by its conferees, is that it requires the Federal Security Agency,
      on blanket request therefor by the Attorney General, to notify this Service when-
      ever an alien obtains a social security account number and card. The repre-
      sentatives of this Service pointed out that this is the only construction of the
      provision that can give it practical effect.
20-cr-00134-RMP         ECF No. 78-6           filed 12/22/21         PageID.934 Page
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                   1954    233
       The legislative history of the provision makes it clear that the Congress in-
    tended that it be given practical effect, and left the details to be worked out
    administratively In a manner feasible to the Bureau of Old Age and Survivors
    Insurance and acceptable to this Service.
       The genesis of this provision is indicated in report No. 1515, Senate Committee
    on the Judiciary, 81st Congress, 2d session, 1950. This report was prepared
    following an exhaustive study of our immigration and naturalization laws and
    policy by a special subcommittee of the Senate Committee on the Judiciary.
    At page 330 the report noted that under then existing regulations the social
    security records were confidential and not open to officers of this Service. Con-
    sequently, aliens smuggled into the United States or aliens violating the terms
    of their admission as nonimmigrants could apply for social security cards, work
    and obtain social security benefits in complete disregard of the immigration
    laws, and with impunity, since their action to obtain social security benefits
    would not bring them to the attention of the arm of the Government (this
    Service) charged with responsibility to detect their illegal presence in the United
    States and deport them.
       The report further noted that it had been suggested that the social security
    laws be amended to require foreign-born persons applying for social security
    cards to give certain essential information by which their status under the
    immigration laws could be determined and that a copy of such person's applica-
    tion for a social security card be furnished to this Service. The report states
    the view of the committee that if such legislation were enacted, illegal entry
    and illegal residence would become more difficult for aliens and less frequently
    resorted to, and the problems of this Service in enforcing the immigration laws
    would be reduced and simplified accordingly.
       It is further indicated in the report that the committee considered that if
    the social security records of aliens were made available to Government enforce-
    ment agencies, it would be of inestimable value, and that the cooperation of the
    Federal Security Agency in furnishing this service information concerning the
    whereabouts of aliens would enable this service to apprehend such aliens in
    many cases without resorting to long investigation.
       This led to the inclusion in the omnibus draft legislation prepared by the
    committee of a provision generally corresponding to section 290 (c) of the
    Immigration and Nationality Act. It is obviously impossible to accomplish the
    objective sought to be achieved by this provision in the law if this service were
    limited by it to making individual requests for socal security data "whenever
    any alien is issued a social security account number and social security card."
    When an alien illegally here applies for a social security account number, only
    the Federal Security Agency, and not this service, knows that fact. If this
    service knew about the illegal presence of the alien in the United States through
   other sources, there would be no need to resort to the social security records
    under the first portion of section 290 (c). If at this point this service knew of
   the alien's presence in the United States and of his seeking work, then the
   second portion of section 290 (c) would come into operation, and under its
   authority this service would be able to procure information concerning him from
   the social-security records.
      In short, if this service is not automatically furnished notification by the
   Federal Security Agency "whenever any alien is issued a social-security account
   number and social-security card," then the first portion of section 290 (c) fails
   to have any practical effect, and is of no use to this service in achieving the
   objective set out in the omnibus report of enabling this service to apprehend
   aliens illegally here and illegally working, through information being furnished
   as to their receiving social security account numbers and cards. It is incon-
   ceivable that the Congress put this provision into section 290 (c) without mean-
   ing for it to have practical effect.
      The further legislative history of this provision bears out that Congress
   desired it to have practical effect. The provision found its way into succeed-
   ing drafts of the omnibus immigration and nationality legislation. It appeared
   in H. R. 2379, the bill which was the predecessor of H. R. 5678, the bill that
   became (along with the corresponding Senate version) the present Immigration
   and Nationality Act.
      The Federal Security Agency voiced its objections to the provision in section
   290 of the draft legislation, as it appeared in H. R. 2379 (the predecessor House
   bill), in a communication which the Committee on the Judiciary of the House
   of Representatives included in its report on H. R. 5678. In this report (No.
   1365, 82d Cong., 2d sess., 1952) at pages 69-73 the House Committee on the
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.935 Page
       234 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
      Judiciary stated that, having considered this communication, the Committee
      ,desired "to state that it is not its purpose to interfere in any way with the
      -operation of the Social Security Act."
          The committee did insert the words "upon request" in section 290 4v) and in
       its report did state that it believed that most of the objections raid         by the
       Federal Security Agency "with regard to the provisions of section 290 * * *
       have been alleviated by the rewritten language in the same section as it now
       appears in the instant bill."
          Nevertheless, the committee thereupon also inserted in its report a subsequent
      letter to the committee from the Federal Security Agency in which that Agency
      set out its interpretation of the changed version of section 290 (c), and requested
      that if its interpretation were correct, its interpretation be reflected in any dis-
      cussion contained in the committee report or other legislative history of sec-
      tion 290.
         Significantly, the committee did not go on record, as requested to do so by
      the Federal Security Agency, and did not state that this interpretation ad-
      vanced by the Federal Security Agency was correct. Of especial importance
      to the construction of the meaning of the first portion of section 290 (c) is the
      fact that the committee merely stated (at p. 74) that:
          "The committee trusts that the Attorney General and the Administrator of
      the Federal Security Agency will work out a satisfactory arrangement, and it
      strongly recommends the enactment of section 290, as now proposed, for material
      security reasons."
          It thus appears from the committee's own remarks in its report, as distin-
      guished from the objections voiced in the correspondence from the Federal
      Security Agency, that while the committee did not desire section 290 to inter-
      fere with the operation of the Social Security Act, it strongly wanted the pro-
      vision enacted for material security reasons, and believed that the two agencies
      would work out a mutually satisfactory arrangement, under which this Service
      would get the information it needed from social-security records to aid in the
      enforcement of the immigration laws.
         The representatives of the Bureau of Old Age and Survivors' Insurance took
      the view that because the Congress inserted the words "upon request" in section
      290 (c) following receipt of the objections voiced in the first communication to
      the committee from the Federal Security Agency, the Federal Security Agency
      interpretation stated in its second communication should govern. Accordingly,
      it was the position of the representatives of that Bureau that only where spe-
      cific requests are submitted must the Federal Security Administrator furnish
      notification to this Service of the issuance to an alien of a social-security account
      number and card.
         This view robs the word "whenever" appearing in the first portion of section
      290 (c) of its normal dictionary meaning. Moreover, as already stated, this
      interpretation would make the first portion of section 290 (c) have no more
      effect than the second portion in that section. The representatives of the
      Bureau of Old Age and Survivors' Insurance conceded that their view might
      make the two portions of section 290 (e) redundant.
         The representative of the Office of the General Counsel of the Federal Se-
      curity Agency who participated in these conferences made it clear that he did
      not regard the matter as being strictly a legal question and indicated that he
      hoped a mutually satisfactory arrangement could be worked out between this
      Service and the Bureau of Old Age and Survivors' Insurance, without having
      to refer the matter for any legal opinion. The representatives of this Service
      agreed with him that if a mutually satisfactory administrative solution could
      be found, such an arrangement would best implement the expressed intent of
      Congress to open up the social security records to this Service, but without inter-
      fering with the operation of the Social Security Act.
         The conferees thereupon discussed the question whether, assuming the law
      requires the Bureau of Old-Age and Survivors Insurance to furnish this Service
      a notification whenever an alien obtains a social-security account number and
      card, upon a blanket request therefor by the Attorney General, what would be
      the most feasible method of furnishing that information.
         The representatives of this Service initially proposed that the application for
      social-security account number and card (Treasury form 88-5) be revised to add
      a question whether the applicant is a citizen or an alien and, if an alien, what his
      alien registration number is. It was suggested that a copy of each application
      card on which the applicant indicates alienage might then be furnished to this
      Service. From the point of view of this Service, this would be the simplest opera-
20-cr-00134-RMP          ECF No. 78-6           filed 12/22/21        PageID.936 Page
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                 1954 235

   11n for us to handle. This proposal conforms closest to the suggestion (referred
   to above) in Senate Report 1515, 81st Congress, 2d session (at p. 330) that the
   social-security law be amended to require foreign-born persons applying for
   social-security cards to give certain essential information by which their status
   tnder the immigration laws could be determined and that a copy of such appli-
   cations be furnished this Service.
       However, the representatives of the Federal Security Agency contended, and
    the conferees representing this Service conceded, that if such inquiries were
    added to the applications for social-security account number and card it would
   tend to cause some aliens illegally here to falsify, particularly as to alienage.
    Such falsifications, and the use by such aliens of social-security cards belonging
   to other persons, would cause administrative difficulties in the operation of the
    Social Security Act and tend to defeat the objective sought to be accomplished
   by section 290 (c).
      The representatives of the Bureau of Old-Age and Survivors Insurance seriously
   objected to this proposed change in the application form from the viewpoint of
    their Bureau. They indicated that the resultant duplications of accounts would
   cause too many administrative problems later on. Moreover, if the alien regis-
   tration number became associated with the social-security account number, aliens
   would be reporting, or making inquiries, concerning their social-security accounts
   under their alien registration number. Moreover, they felt that it would squarely
   bring to public attention the fact that the social-security records were being made
   available to this Service and injure the public reliance in the confidentiality of
   these records which the Federal Security Agency has sought to foster. The rep-
   resentatives of the Bureau of Old-Age and Survivors Insurance made it clear
    that they would much prefer having no change made in the application form and
   instead have all applications showing birth abroad (this fact already appears on
    the application form) furnished to this Service for check against its records to
   determine whether the person is an alien and, if so, whether he is illegally here.
       The representatives of this Service pointed out that this would considerably
    increase the cost to this Service of handling these application cards. Those
    which did not match any alien record would have to be checked against the nat-
    uralization records. Moreover, there would be a small percentage of cases in
    which investigation would establish that the foreign-born individual is a natural-
   born citizen of the United States under the provisions of our laws which confer
    United States citizenship at birth on certain persons born abroad. As for this
   small number of cases, it may be possible to work out some arrangement with
   the State Department Passport Office whereby the records of that Office might be
   checked to determine whether a United States passport was ever issued to any
   such applicant whose application does not match a record of this Service.
       The representatives of this Service at the conferences stated that, in view of
    the congressional indication that the matter should be worked out administra-
    tively in a manner satisfactory to both agencies, this Service, in consideration of
   the serious objections raised by the Bureau of Old-Age and Survivors Insurance to
   changing the application form for social-security account number and card,
   would initially be willing to try out an arrangement under which this Service
   would get copies of the applications for social-security account number and card
   hereafter filed in the present form.
       One of the considerations affecting this Service's willingness to compromise
   on this point is that if the two agencies proceeded on the basis that this Service
   would get the present type application forms whenever the applicant reported
   foreign birth, this Service could experiment to see what difficulties it would
   encounter in checking its records and coming up with the residue of those who
   are aliens illegally here or working illegally. If it were practicable, then the
   Federal Security Agency would be saved from the anticipated confusion of its
   records and this Service might possibly be enabled to locate aliens who, if the
   form were changed, would falsely or erroneously claim to be United States citi-
   zens, and whose applications would therefore not be furnished this Service.
      However, if accepting the present application form on all foreign-born appli-
   cants turned out to be too much of an administrative problem to this Service,
   then this Service would have a basis of experience for requesting the Federal
   Security Agency to have the application form changed to reflect citizenship or
   alienage. Because any listing of alien registration numbers on the applications
   for social-security account numbers and cards would tend to confuse social-
   security numbers with alien registration numbers, this Service's conferees are
   not pressing this point at the present time.
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.937 Page
         236 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
           The next problem the conferees considered in this connection was the expense
        involved in the Federal Security Agency's furnishing copies of social-security
       applications to this Service under the blanket procedure proposed by this Service.
          As set out in the communications of the Federal Security Agency to the House
        Committee on the Judiciary (appearing in H. Rept. 1365, 82d Cong., 2d sess.,
        1952), the Federal Security Agency contended that it should be reimbursed by
        this Service for the costs of furnishing the required information to this Service.
       The essential reasons advanced by that Agency are that the moneys collected
       under the Social Security Act are treated as a trust fund, and there is a general
       requirement in the Social Security Act that the Federal Security Agency be re-
       imbursed for information furnished other agencies from its records. In its
       second communication to the committee, the Federal Security Agency asserted
       that it assumed that, in the absence of anything to the contrary in the bill, it
       could charge this Service the cost of furnishing the required information. Here,
       again, the committee was silent and left it to the two agencies to work out a
       satisfactory arrangement.
          It is obvious that this is a matter that has to be worked out administratively
       on some temporary basis until it can be ascertained from the Congress in the
       budget of which agency it desires the cost of furnishing this information to be
       included. Neither budget provides for this at the present time. The Congress
       can equally well provide an item in the budget of the Federal Security Agency
       to cover these costs, payable out of the general funds of the Treasury rather
       than out of social-security funds, or add an item to the budget of this Service
       to cover the estimated costs.
          Pending ascertainment of the will of the Congress in this respect, the con-
       ferees on the part of this Service suggested that this Service be permitted to
       station a clerk, working out of its district office, at the headquarters office of
       the Bureau of Old-Age and Survivors Insurance to work at the point in the
       processing of the application cards which would interfere least with the proc-
       essing. It was the view of the representatives of this Service that, if this clerk
       were provided by this Service with one of the new types of reproducing machines
       which make single copies rather inexpensively, or perhaps with a microfilm
       machine, which can do the job very quickly, these cards could be easily copied.
       The conferees on the part of this Service were not ready to commit this Service
       on this operation pending submission of the proposal (including estimated cost)
       to its fiscal people for consideration.
          Alternatively, the representatives of this Service indicated that they would
       possibly consider accepting a copy of the first punch card that the Bureau of Old-
       Age and Survivors Insurance prepares for its own use from the application cards
       provided one item could be added to that punch card. This service would desire
       the first 3 or 4 letters of the country of birth to be code punched on the card.
       The representatives of the Bureau believed it would be possible for them to punch
       only the first letter. This might be acceptable to this Service on further explora-
       tion of the matter.
          The conferees on the part of this Service submitted another alternative pro-
       posal in this connection. The field offices of the Bureau of Old-Age and Survivors
       Insurance immediately send all applications for social-security account numbers
       .and cards to the central office of that Bureau in Baltimore, where they are pro-
       cessed on a centralized basis. This Service's conferees suggested that the field
       offices of the Bureau of Old-Age and Survivors Insurance might make a copy of
       the application card (by photo process, if there is any daily volume) before the
       card is sent to the central office of the Bureau in Baltimore. This copy could be
       mailed directly either to the district director of this Service having jurisdiction
       over the district in which the field office of the Bureau of Old-Age and Survivors
       Insurance is located or to the central office of this Service. The representatives
       of the Bureau of Old-Age and Survivors Insurance indicated that they favored
       handling the matter on a centralized basis at the Baltimore headquarters office of
       that Bureau.
          The choice of method was left to be settled after it was determined that the
       Bureau of Old-Age and Survivors Insurance must furnish automatic notification
       to this Service on blanket request of the Attorney General.
       PART 2.   INDIVIDUAL REQUESTS FOR INFORMATION CONCERNING THE IDENTITY AND
                                    LOCATION OF ALIENS
         As for the second portion of section 290 (c), the conferees representing both
       agencies were in agreement as to what it requires. It was agreed that it requires
       the Federal Security Agency, on receipt of a request from this Service for infor-
       mation concerning a specific individual (including such data as is available con-
20-cr-00134-RMP         ECF No. 78-6           filed 12/22/21         PageID.938 Page
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                    1954    237
    cerning him), to furnish this Service whatever information appears in the social-
    security records concerning his identity or location.
       The representatives of this Service at the conferences proposed that, where
    the Service was looking for an alien believed to be in the United States, it would
    first endeavor to locate the alien through its own records and investigation. If
    he could not be thus located, a request on a form agreed to by both agencies would
    be sent to the Bureau of Old-Age and Survivors Insurance at Baltimore. If this
    Service had the social-security number available, it would be noted on the form
    to expedite the search of the social-security records.
        The representatives of the Bureau of Old-Age and Survivors Insurance indi-
    cated that, except for the address in the original application for social-security
    account number and card, or for a new card, the social-security system does not
    obtain a current address for the individual holder of a social-security card. How-
     ever, by checking against the employer's code number, that Bureau can furnish
    information as to the current place of work of the individual. There is always
    a timelag with respect to the posting of such data of approximately 6 to 9
    months.
        As noted above in relation to the first portion of section 290 (c), the repre-
    sentatives of the Bureau of Old-Age and Survivors Insurance took the position
     that the Federal Security Agency must be reimbursed by this Service for each
    search made of the social-security records.
        The position of that Agency in this respect is set out in its correspondence
     with the House Committee on the Judiciary, appearing in House Report 1365,
    82d Congress, 2d session, 1952, at pages 69-74.
        The conferees on the part of this Service took the same position with respect
     to this second portion of section 290 (c) as they did as to the first portion;
     namely, that, since the Congress included no specific requirement for reimburse-
     ment in section 290 (c) and made no comment on the point, despite the request
     by the Federal Security Agency for some affirmative indication that its view was
     correct, the Congress did not intend this Service to reimburse the Federal Se-
     curity Agency.
        The conferee from the Division of Accounting Operations of the Bureau of
     Old-Age and Survivors Insurance subsequently advised this Service by telephone
     that the Bureau's Accounting Division estimates that, depending upon the number
     of indexes or sets of records that will have to be searched, each individual search
     under the second portion of section 290 (c) will cost from 35 cents to $1.25 per
     search and that, by reason of the way the records are arranged, an average
     search will run about $1 per search. He indicated that, to avoid any need for
     expensive cost accounting, that Bureau would like to be reimbursed at the rate
     of $1 per search, to be paid by this Service. This was based upon an estimated
     5,000 searches per month.
        With respect to this estimated flat rate of $1 per search, this Service has
     ascertained that this figure includes a pro rata charge for the regular overhead
     expenses of the Bureau. The conferees on the part of this Service expressed
      the view that in no event should the overhead costs of the Bureau be charged
      against these searches, since those overhead costs go on, whether this small
     side operation is in effect or not.
        As noted in relation to the first portion of section 290 (c), the representatives
      of this Service pointed out that it will be some time before the will of the
     Congress in this respect is ascertained (as to whether the item to cover the
     work involved in these searches will be placed in the budget of the Bureau of
      Old Age and Survivors' Insurance or in the budget of this Service). In the
     meantime, neither budget contains any item to cover the cost of making these
     searches, which, if figured on the basis of a dollar per search, would constitute
     a considerable sum of money.
        Accordingly, the representatives of this Service indicated that pending con-
     gressional clarification as to which agency should include the item in its budget
      request, it is essential that some interim arrangement be worked out under
      which the offices of this Service could submit all necessary individual requests
     for information from the social-security records concerning the identity and
     location of aliens. If this were worked out on an interim basis, the experience
     of the two agencies would make it possible to determine the prospective expenses
     for the next fiscal year for which it is now possible to submit a budget request
     to the Congress.
        Accordingly, the representatives of this Service suggested that personnel of
     this Service (probably 3 to 5 clerks) be permitted to be stationed at the Balti-
     more headquarters office of the Bureau of Old Age and Survivors' Insurance
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.939 Page
       238 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
      where the records are maintained and do the searches and other necessary
      clerical work in connection with the individual checks of the social-security
      records. This clerical personnel would operate under the jurisdiction of the
      district director of this Service at Baltimore, Md. Initially, the representatives
      of the Bureau of Old Age and Survivors' Insurance expressed themselves against
      this method of obtaining the information, inasmuch as such an arrangement
      would tend to violate the law as to the confidential character of the social-
      security records. They suggested that the Bureau have control over those
      employees, though they be paid by this Service. It has been intimated in the
      telephone conversations on this point that a mutually satisfactory arrangement
      should be easily worked out on this point.
      Footnote
         Further discussions are to be had in the next few weeks between representatives
      of the two agencies with a view to coming to an agreement, under which an
      interim arrangement can be put into effect, we hope, as to both portions of
      section 290 (c).
         In view of the immensity of the project, this Service is presently not con-
      templating trying to go through the records of social security account numbers
      heretofore issued, with a view to checking all foreign born social security card-
      holders against the records of this Service.
                                                           BENJ. G. HABBERTON,
                                                               Acting Commissioner.

                            BORDER AIR PATROL OPERATIONS

         SENATOR SMITH. I would be interested with respect to item 4 on
      your analysis sheet, on how you hit upon the 11 decrease in personnel
      in the patrol for the detention of illegal entries. Why 11?
         Mr. KELLY. May I answer that? That came to my attention only
      the day before yesterday and I cannot imagine anybody being more
      astounded by it than myself. I was more astounded by that than any-
      thing else in this budget. It did not come to my attention until the
      day before yesterday. If we had a decrease in 100 border patrol posi-
      tions, I would not have wondered at it. I would have regarded it
      as an economy move. But to wipe out our entire air patrol which is
      so vital to many of our border patrol operations is simply incompre-
      hensible. That is all I can say about it.
         Mr. MACKEY. These 11 that Senator Smith speaks about are the
      11 airplane pilots of the border patrol that are being eliminated.
         Mr. KELLY. Yes, sir, and that wipes out our air patrol operation.
         Senator SMITH. Who made that decision?
         Mr. KELLY. As I say, that did not come to rity attention until the
      day before yesterday, and it appeared in the budget that was sent over
      here by the Bureau of the Budget.
         Senator DIRKSEN. Mr. Andretta, I suppose everybody is looking
      at you.
         Mr. ANDRETTA. All I tell them is how much money they have. They
      make their own decision as to where the cuts go.
         Senator SMITH. Do you mean to say that the Budget Director made
      the decision on the number to be cut and the air patrol was wiped out?
        Mr. ANDRETTA. No.
         Senator SMITH. Who made the decision?
         Mr. ANDRETTA. They made it in the Service.
         Chairman BRIDGES. What service?
         Mr. ANDRETTA. In the Immigration Service.
         Mr. KELLY. I just repeat that it never came to my attention until
      Ilhe day before yesterday, and I certainly was never consulted about
      wiping out our air patrol.
20-cr-00134-RMP        ECF No. 78-6        filed 12/22/21      PageID.940 Page
          STATE,   JUSTICE, AND COMMERCE APPROPRIATIONS,         1954 239
                   ADVISABILITY OF DISCONTINUING AIR PATROL

       Senator SMITH. Along the lines that Senator Dirksen was speaking,
    it seems to me that if the patrol is of any use at all, we should go all
    out for it or cut it all out. I cannot see that you can go halfway in
    your patrol work and get any results, because while they are going
    halfway the people can come in on the other side.
                         BORDER PATROL APPREIIENSIONS

      Mr. KELLY. If I may address myself to a remark of Senator
    Dirksen a minute ago, what we have is a system of locked doors with
    no connecting walls. Now every few days or every week we are ap-
    prehending smuggled European aliens from Canada. During the first
    8 months of the current fiscal year, border patrol apprehensions have
    amounted to more than 492,000. In January and February of this
    year more than 128,000 have been apprehended. That represents an
    invasion of the United States in myn opinion. It does not do a bit
    of good to set up all these controls in the ports of entry if we are going
    to just leave the borders wide open.
                          DETERMINATION OF DECISION

       Chairman BRIDGES. W'ho did make the decision on cutting out the
    air patrol?
       Mr. KELLY. I wonder.
       Mr. MACKEY. I did not make it, Mr. Chairman. I was not consulted.
       Senator SMITH. Mr. Chairman, I would like to know who did make
    it, and if they do not know, I would like to get the information before
    we go on the Senate floor. If my memory serves me correctly, I am
    of the opinion that this border-patrol service has been cut year by
    year, and I would like for the record something to show just how much
    it has been cut since 1940.
       Mr. MACKEY. We have not reached that yet, Senator Smith. I will
    reach the border patrol in a very few minutes, and then I should like
    Mr. Kelly, who is Assistant Commissioner in charge of the border
    patrol, to speak to that.
       Senator SMITH. You will give us that information for the record,
    if you please.
       Mr. MACKEY. Yes.

                        ADMINISTRATION OF LAWS IN GUAM

       Of course, we recently moved into Guam. The act places Guam
    within the definition of the United States. We thus have to shoulder
    the complete responsibility for the administration of the immigra-
    tion and nationality laws in Guam. Heretofore this has been handled
    by the island government in Guam. For the past few months we
    have had a small detail stationed there in preparation for transition
    in an orderly manner.
       Senator DIRKSEN. What is in and out of Guam that would require,
    that many?
       Mr. MACKEY. I think the majority are Filipino laborers moving in
    and out of Guam.
         31759-53--16
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.941 Page
        240 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS) 1954
         Mr. DEVANEY. Of course, we have the aliens applying for admission
       from the trust territory islands around there, and it is quite a job
       inspecting them. We have considerable transit air work, that is
       the planes from Japan, Okinawa, and the Philippines on to the United
       States and Honolulu which have to be inspected.
          Senator DuIRKSLN. I was thinking of the volume. What is there
       in Guam to bring them in unless they are going to work at one of the
       air bases? You are speaking of the Filipino laborers. Would there
       be such a volume of Filipino labor in and out of Guam ?
          Mr. MACHEY. Yes, sir.
          Senator DmKsEN. For what purpose?
          Mr. MACKEY. For the purpose of construction work for the Navy.
          Senator DIRKSEN. Of course they cannot get beyond Guam. That
       is to say, they could not get over here?
          Mr. MACKEY. No, not under the law, no. But under the law we are
       required to inspect them.
          Senator DIRKSEN. What is the overall number of entries in the
       projects there over a period of time?
          Mr. MACKEY. We haven't it available. We will have it for the
       record.
          (The information referred to follows:)
       ESTIMATED     WORKLOAD       FOR   IMMIGRATION AND NATURALIZATION                SERVICE     ON
                                           ISLAND OF GUAM

       Inspection: Figures for the 6-month period, August 1952 through January 1953, of
                        inspection work performed on the island of Guam

                                                                                               Approxi-
                                     August    Septem-   October   Novem-   Decem-   Tanua      mate
                                                 ber                 her     ber          ry   annual
                                                                                               volume

       Vessels boarded'on arrival ------  35        29        31       32       39        35         402
       Aircraft boarded -...............132        225       159      136      137       124      1,826
       Alien crewmen examined ------- 475          463       412      388      538       544      5,680
       Citizen crewmen examined ---      697     1,309       725      532      679       562      9,008
       Other aliens examined -----       530       484       395      448      384       446      5, 374
       Other citizens examined -------- 879        760       813      675      823       693      9,286


                                           ALIEN REGISTRATION

          It is estimated that there are 13,000 Filipino aliens on Guam in a temporary
       status who were imported for labor purposes by the Navy, Air Force, and their
       contractors; 1,000 such aliens who have left their employment and are in an
       illegal status, 1,000 natives of trust islands who are on Guam illegally, and 2,000
       aliens who may be considered lawful residents. In order to establish the status
       of such aliens, it will be necessary to effect their registration under the Immi-
       gration and Nationality Act. These aliens were not subject to registration
       under the Alien Registration Act in effect prior to December 24, 1952. It is
       proposed to effect the registration of aliens on Guam by soliciting the assistance
       of the Navy, Air Force, and its contractors, insofar as the registration of the
       temporary Filipino laborers. Others will be registered by the Immigration and
       Naturalization Service because of the necessity of determining status. Registra-
       tion of all aliens is necessary to establish records of entry because before the
       Service assumed jurisdiction on June 16, 1952, few if any entry records were made.
       Such records of entry are necessary for naturalization purposes and in immigra-
       tion actions such as reentry permits, visa petitions, etc.
                                   INVESTIGATION AND DEPORTATION

          As mentioned above, it is estimated that some 2,000 aliens are on Guam in an
       illegal status. It will be necessary for the Service to investigate such cases
       looking to the deportation or adjustment of status of the aliens.
20-cr-00134-RMP         ECF No. 78-6           filed 12/22/21         PageID.942 Page
             STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                1954  241
                                       NATURALIZATION

       There are estimated to be some 2,000 aliens on Guam in a legal status. It is
     not known how many will apply for naturalization, but an estimate of 1,000
     appears to be conservative. As stated above, it will be necessary to effect
     the registration of these aliens to establish lawful entry for naturalization pur-
     poses, but once that Is done, there will be an influx of naturalization applications.
       Senator DIRKSEN. You do not have           that figure at the moment?
                                  CONDrrIONS ON GUAM

        Mr. MACKEY. No; not available. I might say that insofar as our
     12 employees are concerned in Guam, conditions are very bad there,
     particularly from the standpoint of housing. We find it very diffi-
     cult to find men who are willing to go to Guam for that reason. The
     Navy recently cut off our employees, although we will only have 12
     there from commissary privileges. They stated it was for the reason
     that in permitting other than naval personnel from using the com-
     missary privileges, it affected the economy of Guam.
        Senator DIRKSEN. You mean 12 people would affect the economy
     of Guam?
        Mr. MACKEY. Apparently that is the way the Navy feels about it.
     My position is, I feel that the few employees we do have in Guam
     are just as much a part of the defense of that island as a navy is. I
     understand the Navy civilian employees are all given commissary
     privileges equally with those of their naval and officer personnel.
        Senator DIEKSEN. Mr. Chairman, I think that is a point that ought
     to be run down.
        Chairman BRIDGES. Yes.
        Mr. MACKEY. We feel that is very important. Our men are living
     in Guam in Quonset huts. For a married man with wife and children
     there are absolutely no housing facilities available that exist.
        Senator DIRKSEN. If they had supermarkets in Guam or some-
     thing it would be a different matter. But the idea of the Navy cutting
     off some people looks a little indefensible.

                                   PANAMA    CANAL ZONE


        Senator ELLENDER. This is not peculiar to Guam. The day before
     yesterday we had hearings on the Panama Canal Zone. There the
     Canal Company had commissaries and food was sold much cheaper
     to the Navy and Army people within a stone's throw of each other
     than they were at the Company's stores. It has caused a lot of fric-
     tion between the civilian employees there and the Navy and Army
     people.
        Chairman BRIDGES. Are you sure that the Army and Navy stores
     sold food cheaper?
        Senator ELLENDER. Yes, within a stone's throw of each other.
     Cheaper than the Canal Company that is Government operated. Yes,
          that is in the record.
     sir,Senator
                   SMITH. Mr. Chairman, that is true everywhere in the
     world, is it not? Are they not doing that very thing?
        Senator ELLENDER. It should not be done. But it is a practice that
     has been going on with the Army and Navy. As I said, the idea of
     denying 12 people the privilege of buying at these Navy stores is just
     something that is unconscionable.
20-cr-00134-RMP          ECF No. 78-6            filed 12/22/21         PageID.943 Page
       242 STATE,       JUSTICE, AND COMMERCE APPR OPRIATIONS,                1954

       Chairman BRIDGES. At this point in the record we will insert a
      memorandum and supporting related data received from the Depart-
      ment on Commissary and PX privileges at Guam.
        (The information referred to follows:)
      MEMORANDUM RE COMMISSARY AND PX PRIVILTOES FOR IMMIGRATION AND NATURALI-
                              ZATION SERVICE EMPLOYEES AT GUAM
           There is attached a copy of memorandum of December 12, 1952, addressed
       to the Attorney General by the Commissioner of Immigration and Naturaliza-
       tion recommending that the Secretary of the Navy be asked to restore comis-
       sary and exchange privileges to immigration employees stationed at Agana,
       Guam.
          Attached is a copy of a letter of January 13, 1953, addressed to the Secretary
       of the Navy by the Attorney General requesting restoration of logistic support
       in the form of ship stores and commissary privileges for Department of Justice
       employees at Guam. Also attached is copy of 'self-explanatory letter of Feb-
       ruary 2, 1953, addressed to the Attorney General by the Acting Secretary of
       the Navy declining the request for restoration of privileges.
                                                                       DECEMBER 12, 1952.
       To: The Attorney General.
       From: Commissioner of Immigration and Naturalization.
       Subject: Restoration of commissary and Navy exchange privileges to employees
             stationed at Agana, Guam.
           Our district director at Honolulu is urging us to take strong action to bring
       about the restoration of commissary and Navy exchange privileges to our em-
       ployees stationed at Agana, Guam. These privileges were withdrawn by order
       of the Secretary of Navy from Service and all other civil-service employees effec-
       tive October 1, 1952. 1 have been informed that the only persons excepted from
       the order withdrawing these privileges are civilian employees of the Navy, and
       certain individuals employed by Brown-Pacific-Maxon Co. and the Luzon
       Stevedoring Co., holders of contracts with the United States Navy.
          This Service assumed responsibility for the administration of the immigration
       laws in the Territory of Guam on June 16, 1952. This action was preceded by a
       survey of approximately 2 months by 2 officers of this Service. Prior to that
       survey, conferences were held in this office between representatives of our Serv-
       ice and of the Departments of Defense, Interior, and State. At such a confer-
       ence, held on March 14, 1952, Mr. W. Kerr Bassett, from the Manpower Office
       of the Under Secretary of Navy, and Mr. J. C. McBride, General Counsel's office,
      Department of the Navy, both representing the Defense Department and speak-
       ing for that Department, agreed to make available logistic support to Immigra-
       tion and Naturalization Service personnel that might be assigned to Guam to
       carry out our responsibilities there. It was well understood by the conferees
       that the term "logistic support" referred to commissary and exchange privileges.
       In reaching, a decision to open an office at Agana, Guam, the Service was in-
      fluenced to a great degree by this commitment. After a decision had been made
       to establish an office at Agana, the Service, in soliciting applications for transfer
      of employees to the newly established office there, informed all prospective ap-
      plicants that commissary and Navy exchange privileges would be available to
      those who accepted assignments to Guam. You can readily understand that we
      regard the withdrawal of such privileges from our employees who accepted as-
      signment to Guam as a very serious matter.
          I have been informed that it is virtually impossible to obtain food in Guam
      which may be regarded as safe for human consumption and dispensed under
      sanitary conditions, except for that which is procured from the commissary there.
      In addition to the problem of securing food that is safe to eat, our employees are
      also seriously affected by the withdrawal of exchange privileges because they
      may no longer purchase from the Armed Forces such utility services as laundry
      and dry cleaning. I understand that such services are nonexistent, or wholly
      inadequate in Guam, except those operated by the Navy. In a climate such as
      Ihat on Guam, these services are an important contributory factor to the health
      and well-being of our employees. The importance of the availability of coin-
      inissary and exchange privileges to civil-service employees on Guam is apparently
      recognized by Navy authorities, inasmuch as civil-service employees of the Navy
      Department and employees of business firms holding contracts with the Navy
         vreexempted from the order withdrawing such privileges. Unless these privi-
20-cr-00134-RMP     ECF No. 78-6 filed 12/22/21 PageID.944
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954 243 Page
      leges are restored, it will become increasingly difficult, if not impossible, to in-
      duce Service employees of the caliber needed to serve on Guam to accept a trans-
      fer to our station there.
         In view of the foregoing I earnestly request that the Department address a
      letter to the Secretary of Navy, or indicate that we may undertake to do so for
      your signature, urging reconsideration of the order which resulted in withdrawal
      of commissary and Navy exchange privileges not only from employees of this
      Service, but also other employees of the Department of Justice (United States
      attorney and his staff) whose privileges were also rescinded on October 1, 1952.
      It is believed the letter should contain the specific request that the Secretary of
      the Navy authorize the commandant of Guam to restore those privileges at the
      earliest possible time.

                                                                    JANUARY 12, 1953.
      The honorable the SECRETARY OF THE NAVY,
                                         Washington, D. C.
         MY DEAR MR. SECRETARY: At the present time this Department has stationed
      at Agana, Guam, a United States attorney and his secretary, a United States
      marshal and 1 clerk, 3 employees of the Lands Division, and 5 employees of the
      Immigration and Naturalization Service.
         Recently these employees of the Department were notified that logistic sup-
      port in the form of ship stores and commissary privileges heretofore provided
      by the Navy Department has been withdrawn. Losing this support has made
      living conditions in Guam more difficult for these persons in that they have been
      unable to otherwise obtain many necessities of life. Such a withdrawal also
      adds to our recruitment problem for Guam.
         I would deeply appreciate it if you would take steps to restore this logistic
      support to employees of this Department and I know they would, too.
             Yours sincerely,
                                            JAMES P. McGRANERY, Atto-ney General.


                                                  DEPARTMENT OF THE NAVY,
                                                        OFFICE OF THE SECRETARY,
                                                       Washington, February2, 1953.
        The honorable the ATTORNEY GENERAL OF THE UNITED STATES.
                                                               Washington 25, D. C.
        MY DEAR MR. ATTORNEY GENERAL: Your letter of January 12, 1953, relative to
      extension of commissary store and Navy exchange privileges on Guam to em-
      ployees of the Office of the Attorney General has been received.
        I sincerely regret that existing circumstances on Guam do not permit a waiver
      to the regulations issued by the Department of the Navy and the Commander,
     United States Naval Forces, Marianas, governing extension of these privileges.
        In explaining the Navy's position regarding the extension of privileges, it is
     considered advisable to briefly outline the situation on Guam immediately follow-
     ing World War II, and up to the present date. At the end of 1945, Guam had no
     local economy on which United States citizens and United States Government
      employees could subsist. The Navy, therefore, provided the necessary facilities
      to support all American personnel. As the local economy strengthened through
     the years, privileges were withdrawn from non-Government employees. Many
      objections were raised as these privileges were gradually decreased. In 1949, a
     joint Armed Services Commissary Store Regulation and Exchange Regulation
     were prepared by the Department of Defense and approved by the House Armed
      Services Committee. These regulations specifically limit the categories of persons
     entitled to purchase privileges and outline the conditions under which certain
     classes of persons may be entitled to purchases. These regulations provide in
     part that, under the direction of the overseas commander, privileges may be
     extended at installations beyond the continental United States to civilian officers
     and employees of the United States, only when supplies can be furnished without
     unduly impairing the service to military patrons, and when the desired supplies
     cannot be obtained conveniently from civilian agencies.
        In the interest of protecting the fast-developing civilian economy of Guam, the
     Governor of that island has officially requested that Navy resale privileges be
     restricted to uniformed personnel stationed on Guam. Further, a joint survey of
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.945 Page
       244 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
      commercial facilities on Guam was conducted by the Navy, the government of
      Guam, and the Guam Chamber of Commerce early this year. This survey indi-
      cated that the local business community was capable of supporting all non-
      Department of Defense civilian employees and officers of the United States for
      commissary store items. By regulation, the Commander, Naval Forces, Marianas,
      has been granted authority and responsibility for determining whether or not
      desired supplies and services can be conveniently obtained from Guam sources
      by employees of Government department or agencies other than the Department
      of Defense. In the absence of strong justification to the contrary, the Department
      of the Navy can only affirm decisions reached by the Commander, Naval Borces,
      Marianas.
       . I regret that the decision in this matter cannot be more favorable. Should you
      desire further information please do not hesitate to call on me.
              Sincerely yours,
                                                              JOHN F.   FLOBERO,
                                                       Acting Secretary of the Navy.

                              DETENTION AND DEPORTATION

         Mr. MACKEY. May I now go into detention and deportation in our
      work, Mr. Chairman. I will hit the highlights only. The objective
      of our work is to rid the country of aliens who are here illegally,
      either because they came in illegally or have made legal entrance and
      after that have become subject to deportation.
        Looking toward this objective our officers last year served 55,500
      warrants of arrest and conducted over, 42,200 hearings on warrants
      of deportation. This was an increase of approximately 50 percent
      over the prior year, reflecting the first full year impact of the em-
      phasis added by the Internal Security Act of 1950.
                                TOTAL ALIENS DEPORTED


         Total aliens expelled from the United States increased from 686,713
      during 1951 to 723,956 last fiscal year.
         Senator DIRKSFN. That includes wetbacks; does it not?
         Mr. MACKEY. It does; yes, sir.
         Of particular significance in the light of the Internal Security Act
      was deportation under formal proceedings of 20,181 aliens, an in-
      crease of 49 percent over the prior year. It is also significant that
      deportations to countries other than Canada and Mexico increased
      73 percent. The 20,181 deported under formal proceedings included:
         1. Thirty-one subversive or anarchistic; 2. 778 criminals; 3. 50 of
      immoral classes; 4. 56 mental or physical defectives; 5. 40 violators
      of narcotic laws; 6. 24 likely to become public charges; 7. 539 who
      had been previously excluded or deported, and made unlawful entry;
      8. 4,469 who remained beyond the temporary periods for which ad-
      mitted; 9. 3,706 who entered without inspection or by false state-
      ments; 10. 9,636 who entered without proper documents; 11. 475 who
      failed to maintain the status under which legally admitted; and 12.
      377 deported on other miscellaneous charges.
                                    TOTAL WETBACKS

         Senator ELLENDER. Mr. Mackey, will you tell us of the 686,713 dur-
      ing 1951, what percentage of the increase of 723,956 last fall were
      wetbacks?
         Mr. MACKEY. The great majority of them were wetbacks; yes sir.
         Senator ELLENDE-. How about the number; would you know. Is
      it 95 percent, would .you say, that were wetbacks, or 90 percent?
20-cr-00134-RMP       ECF No. 78-6        filed 12/22/21      PageID.946 Page
          STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954          245
       Mr. KELLY. It would be well up in the 90 percent.
       Senator ELLENDER. Up in the nineties.
       Mr. KELLY. Yes, sir.
       Senator ELLENDER. What cooperation are you receiving now from
    the Mexican Government in your efforts to stop this wetback problem?
       Mr. MACKEY. Very little, sir.
       Senator ELLENDEE. Is there any law that you know of in Mexico
    whereby a wetback could be punished by the Mexican Government
    when that wetback is sent back to Mexico?
       Mr. MACKEY. We believe so; yes, sir. But the Mexicans apparently
    take a different view. I might say we explored that very recently,
    Senator.
       Senator ELLENDER. I am familiar with that and that is why I am
     asking about it.
       Mr. MACKEY. Yes, sir; I know you are.

                 NONCOOPERATION OF MEXICAN GOVERNMENT

       Senator ELLENDER. Do you not think that this contract we now have
    with Mexico with respect to obtaining labor here should not be entered
    into unless we can get more cooperation with the Mexican Government
    in dealing with this wetback problem?
       Mr. MACKEY. I agree with you, sir.
       Senator MCCAREAN. In that regard, Senator, I think you will
    agree with me that on this side of the border there is a desire for these
    wetbacks.
       Senator ELLENDER. Yes, sir.
       Senator MCCARRAN. Last year when we had the appropriation bill
    up the item that might have prevented them coming over to some
    extent was stricken from the bill.
       Senator ELLENDER. Senator, I want to make a confession, and I said
    so, said it before the Agricultural Committee. It was my view, when
    1 handled this bill 2 years ago that it would have the effect of minimiz-
    ing this wetback problem. But I am going to say that it has not.
    On the contrary, the wetback problem has been about the same. As
    a matter of fact, I think it has been increased some. Unless we get
    cooperation in the Mexican Government, I think that we ought to do
    away with the law that is now on the statute books and let it revert to
    what it was before. In that way we might be able to have the Mexican
    Government see the light and assist us in fighting this wetback problem.
    It is very aggravating to them, but they want us to pay all the expenses
    and they sit back and do little or nothing about it.
       Senator MCCARRAN. Will you not have more wetbacks that way?
       Senator ELLENDER. I doubt it, Senator, for this reason, that it might
    awaken the Mexican Government to the point where they are going
    to have to take steps to prevent it and help us to stop it. As it is now,
    they have little or no border patrol there. Mr. Mackey, am I right
    in that?
       Senator ELLENDER. We don't have the manpower.
       Senator ELLENDER. I am talking about the Mexicans.
       Mr. MACKEY. No.
       Senator ELLENDE. They do not have anybody there to watch them.
       Senator McCAmiAn. I understand they have someone there to help
    relieve the Mexicahs of the money they earn over here.
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.947 Page
        246 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
         Senator DIRKSEN. Do you politely escort them back across the
       border, Mr. Mackey?
         Mr. MACKEY. That is all we can do, sir. It amounts to an invasion.
       May I get off the record, Senator?
         Chairman BRIDGES. Yes, sir.
         (Discussion off the record.)

                               WETBACK LABOR NEEDED

          Senator MCCARRAN. We might just as well face this thing realisti-
       cally. The agricultural people, the farmers along this side of the
       border, in California, in Arizona, New Mexico, in Texas, in other
       States, I don't know about Louisiana, want this help. They want this
       farm labor. They just cannot get along without it. They do not
       know what they would do if they did not have it.
          Senator ELLENDER. Senator, the 4 States you mentioned there ob-
       tained last year 82 percent of the 196,000 that were contracted for.
          Senator MCCARRAN. In all probability that is true. Not only are
       the border States of that turn of mind, but the States farther North-
       Idaho, Nevada, Utah. They come to these States and they are wanted
       there, because it would be impossible to harvest certain agricultural
       commodities unless we have that help.
          Senator ELLENDER. It strikes me that it would resolve itself in this
       way, that the contracts will be made by the employers in the United
       States with employees in Mexico, the same as now being done, in the
       Bahamas and in Puerto Rico. We have no special law for that, but
       there is some kind of an understanding whereby the employers from
       the United States get the consent of the Jamaicans, let's say, the Gov-
       ernment there, to contract so many Jamaicans under certain condi-
       tions, and there is no red tape about it, and it is done between the
       employer, as I said, and the employees. But here, the Mexican Gov-
       ernment has gone so far as to make us, in a contract, agree to feed these
       people while en route, take them back, provide minimum wages, and
       give them health insurance, and all that. It is something they do not
       get at home.
          Senator MCCARRAN. The wetback is little interested in that sort of
       thing. In other words, a farmer can get a wetback and he does not
       have to go through that red tape.
          Senator ELLENDER. No, sir.
          Mr. MACKEY. Yet the northern farmers will complain and say, "The
       only foreign labor we can get is that which we must legally import,
       while you permit these farmers along the border to get all the wetback
       labor they need. And we regard that as a subsidy to the farmers
       along the southern border."
                              REPATRIATION BY AIRLIFT

         Senator DIRKsRN. Do you repatriate some of these people by flying
       them back to Mexico?
         Mr. MACKEY. Not now; no, sir.
         Senator DIRKS . Did you?
         Mr. MACKEY. Yes, sir. It is a very expensive operation, but it was
       a very effective operation.
         Mr. K LLY. We say it is very expensive, but compared to the
       magnitude of the problem, I have never seen a more economical or
20-cr-00134-RMP       ECF No. 78-6       filed 12/22/21     PageID.948 Page
          STATE,   JUSTICE, AND COMMERCE APPROPRIATIONS,      1954  247
    effective device. I know it has been a very controversial issue. But if
    I may repeat what happened, we did that on an experimental basis in
    California. We were apprehending wetbacks the previous 15 days,
    at the rate of 878 a day, and within a month we had cleaned them out
    to where we were having a hard time finding a hundred a day. If
    we could have kept that stepped up, and once we can get all of these
    Mexicans out of our hair away from the border and start getting back
    some control, we could maintain the control. I know we can do it
    with a relatively small number of men.
       Senator ELLENDER. Your totals do not bear you out because it has
    been on the increase.
       Mr. KELLY. When we dropped the airlift, it skyrocketed again.
    As I say, in January and February, 128,000 apprehensions, 128,000
    in 2 months, and January and February are ordinarily the low
    months.
       Senator DIRKSEN. Those are border apprehensions?
       Mr. KELLY. In the border areas.
       Senator DIRKSEN. Where do you take them and how do you take
    them back?
                             REPATRIATION BY BUS

       Mr. KELLY. Well, I may say in the lower Rio Grande Valley we
    have substituted a bus lift on our side of the border for the airlift
     and even that is effective. We are taking the people we are apprehend-
     ing in the lower valley and we are moving them up by our own busses
     150 or 175 miles and putting them across the river at the point of
    Laredo.
       We moved about 15,000 that way last month and it has already
     shown results.
        Senator DIRxSEN. You deposit them far from home, then?
       Mr. KELLY. We deposit them far away from the honey pot. And
    the Mexican Government, they have not cooperated. I want to say
    that again. But to a tiny extent in that operation, they have, for
    the past month cooperated. They have taken the people down to
    mile 87, or something, some miles below Laredo, and they have been
     putting them on trucks heading for the interior. Moving these people
    if you can get them soon after they get in here, being mindful that
    most of them come from the interior of Mexico, they have had to
    sell their livestock, their farms, and borrow money to get up, if
    you can deposit them right back home or maybe a hundred or more
    miles from home, in the interior of Mexico, within a couple of days,
    1 think it is obvious to anybody how discouraging that is. You take
    away the practice of coming up here. The airlift was showing that
    result. Except we had so many of them that it would just have to
    be a terrific airlift for at least a short period of time to show the
    result.
       It is something you can't nibble at. It is like trying to move a
    mountain with a teaspoon when you need a bulldozer and a steam
    shovel.
                          EXTENT OF BORDER PATROL

      Mr. Chairman, while we are on this subject, may I skip and go to the
    border patrol. Last fiscal year the force engaged upon prevention and
    detection of illegal entry patrolled more than 11 million miles, ex-
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.949 Page
        248 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
       amined over 3 million conveyances and questioned more than 8,700,000
       persons. These operations resulted in apprehension of 531,719 de-
       portable aliens, about 4 percent over the prior fiscal year and over 5
      times the annual volume immediately following World War II.
         The 531,719 apprehensions included 1,215 aliens with criminal rec-
      ords. Also included were 1,122 smugglers of aliens, 38 percent over
      the prior fiscal year and over 5 times the annual volume immediately
      following World War II.
         The Border Patrol each year is faced with appalling numbers of
      aliens illegally in the United States who must be arrested and taken
      to points of expulsion from our country. The number of apprehen-
      sions each year has increased by tens and hundreds of thousands, but
      great numbers of apprehensions do not necessarily reflect effective
      law enforcement. To return illegal aliens repeatedly to small towns
      immediately across the border, hundreds of miles from their homes
      and without opportunity for employment except through another
      illegal entry into the United States, is not effective. About 75 percent
      of those apprehended in the United States come from deep in the
      interior of Mexico. Last fiscal year with congressional approval
      through supplemental appropriations we removed by airlift some
      51,000 aliens to interior points in Mexico. They were points near
      their homes in Mexico. Under the appropriation for the current fiscal
      year it was necessary to discontinue the removals by air.
         The Border Patrol activity is not affected by the Immigration and
      Nationality Act.
                                    SOURCE OF RECOMMENDATION FOR CUT

         Senator SmITH. Right there, Mr. Chairman, I would like to ask
       again if the gentleman will give us the benefit of his findings of where
       the cut was made and who recommended it. I am perhaps a little
       insistent about it because of our long wooded border between Maine
      and Canada. It is not for me to say whether air patrol of the border
      is the right way to patrol or not. But one way to find out is for the
      service to decide, whether it be air or ground. Yet I can't see the
      advantage of cutting 11 people in a service that is as great or as im-
      portant as this service is. I would like again to ask that he give us the
      records since 1940 of what seems to be a constant decrease in the Border
      Patrol service.
         Mr. MACKEY. We shall be pleased to do so Senator.
           (The information referred to follows:)
        The elimination of the air-patrol program was specified by representatives of
      the Bureau of the Budget as a part of the required reduction in the 1954 estimate.
          Officer positions and appropriationsfor Border Patrol,fiscal years 1941 to 1958

                                    Patrol In-      Ap                                          Patrol in-
            Fiscal Ficlyer
                    year   set.rps-
                           spector  posi-                tion            Fiscal year           spector posi-       tio
                                                                                                                Approprta-
                                tion                                                               tions           ion

      1941 .......----- ----- .             1,531    $3,883,400     1948 ------------------            1,160      $5, 575, 000
      1942 ..             -.-.------------ 1,592      3,751,700     1949 -------------------           1,125       6,265,700
      1943                                  1,637     4,757,900     1950 ------------------            1, 110      6,612,630
      1944 ------------------              1,360      4, 055, 100   1951 ------------------            1,098       6,421,600
      194 --------------------            1 i,251     4,331,000     1952 ------------- _----         1 ,259        7,563,600
      1946 ..............        -          1,352     4,224,200     1953--- -- ------------           1079         6,799, 600
      1947 -------------------             1,319      5,615,900
20-cr-00134-RMP       ECF No. 78-6        filed 12/22/21      PageID.950 Page
            STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,          1954    249

        Senator McCARRAN. Mr. Mackey, I do not know where you are in
     your discussion. I do not want to break into it.
      ' Mr. MACKEY. That is all I have to say about the Border Patrol,
     Senator. I am going back to detention expenses.

                         CUTS IN IXIGRATION SERVICE
       Senator MCCARRAPN. I wonder if I can ask a question, because I
     have to leave in a few minutes. Looking at the big table that has
     been furnished to members of the committee on page 3, it appears to
     me that severe cuts have been assessed against the Immigration
     Service.
        The duties and responsibilities of this Service have materially in-
     creased as a result of the passage of Public Law 414. I wish you
      would explain, from a policy viewpoint, just what these recommended
     reductions below the original 1954 estimates mean from the stand-
     point of proper enforcement of Public Law 414.
        I may have broken into the continuity of your thought, Mr. Mackey;
     but, if it will be convenient for you to discuss it at this time, I will
      appreciate it. Otherwise, I want to defer it until the next meeting
     of the committee, if it should be done.
        Mr. MACKEY. We feel that the cuts made in the budget will prevent
     us from effectively carrying out the mandates of the Immigration
     Nationality Act which became effective December 24, 1952.
        Senator MCCARRAN. For example, under the activity "Patrol and
     detention of illegal entry," those revised estimates call for a reduction
     of 11 jobs below the current year, 346 below the original 1954 estimate.
        Mr. MACKEY. Yes, sir. Those 11 jobs are the 11 airplane pilots
     that we use in these small Cessna and Piper Cub planes to fly the
     border and maintain communication with radio-equipped jeeps and
     other patrol vehicles.
        Senator MCCARRAN. The next previous cut in the original 1954 esti-
     mate is in the activity entitled "Investigating aliens' status," or a
     cut in new positions of 255. However, an increase of 92 is proposed
     for this activity over 1953.
        Mr. MACKEY. Yes, sir.

                  PRESENT BUDGET AUTHORIZATION INADEQUATE

       Senator   MCCARRAN.   But the reduction below 1954 original esti-
     mates of 255 represents a cut of 177 investigators.
       Mr. MACKEY. That is right. It does, sir. We cannot, with the
     force authorized by this budget, effectively investigate petitioners
     for naturalization as we are required to do under the new act. Nor
     can we maintain proper supervision of paroled aliens. I think now
     we have something like 22,000 aliens under parole supervision.
       Senator MCCARRAN. Under parole supervision ?
       Mr. MACKEY. Yes, sir.

                         DELAY IN   STAFF RECRUITMENT

       Senator MCCARRAN. In response to a question to the Attorney
    General, he stated that there would be a 2-month delay in acquiring a
    staff for the fiscal year 1954. I am wondering why this should be so,
    as it appears that the recruitment could start immediately, at least as
20-cr-00134-RMP       ECF No. 78-6       filed 12/22/21      PageID.951 Page
       250 STATE,   JUSTICE, AND COMMERCE APPROPRIATIONS,         1954

      far as getting qualified people lined up is concerned. It is my under-
      standing that you are justifying the appropriation request for the
      fiscal year 1954, which starts July 1, 1953. Why, then, a 2-month
      delay?
         Mr. MACKEY. I will let Mr. Loughran explain that, Senator.
         Mr. LOUGHRAN. Senator, you have an investigation by the FBI of
      all employees coming into the Service, and that takes a period of time.
      Not only that, but the amount of money which we are directed to sub-
      mit on a revised budget; in order to get within that amount of money,
      we have to have a lapse of approximately 2 months. If the Con-
      gress would give us the 485 additional positions which are requested,
      that is.
         Senator MCCARRAN. I am not able to grasp that. I don't see where
      the 2-month lapse comes in. This is March and this bill is being
      approved now, or considered now, for 1954, which commences July 1,
      1953. You have all this time between now and July 1. Why the 2-
      month lapse? Where does it come in?
         Mr. ANDRETTA. Because you don't get any final funds. There
      hasn't been an appropriation act finally passed in the last 3 or 4 years
      that I know of until long after the 1st of July, and you. are not per-
      mitted to move on anything until you know what you are to finally
      get. These bills-the House reports one thing; the Senate does an-
      other thing-they go to conference; and, by the time the bill is finally
      acted on, that is the only time you know exactly what you are going to
      get for next year. That has been after the 1st of July, sir.
         Senator ELLENDER. We recessed July 7 last year.
         Mr. ANDRETTA. I think last year was as soon as any we have had.
      There have been continuing resolutions in the years before that, way
      up until the fall.
         Senator ELLENDER. Bills might have passed the Senate but they
      were in conference,
         Senator MCCARRAN. Mr. Mackey, I am sorry to break into your
      statement at this time, but I may have to leave the committee in a few
      minutes.
         Mr. MACKEY. May I move on, please, sir?
         Chairman BRIDGES. Certainly.
                EXPENSES SHIFTED FROM CARRIERS TO GOVERNMENT

        Mr. MACKEY. Under the Immigration and Nationalization Act the
      carriers are relieved almost wholly from responsibilities for expenses
      of detention, hospitalization, and deportation. Records for the past
      year show that the annual costs of these services heretofore borne by
      the transportation lines amount to $643,700 for maintenance and
      detention ,$80,000 for hospitalization and $163,300 for deportation-
      a total of $887,000. The added cost to the Government in 1954 will
      depend largely, of course, upon the volume of alien arrivals and
      Service activity as to expulsions. The revised estimate includes as
      increase of $489,000 for these costs.
                        EXPANSION OF DEPORTATION FIELD

        There were 465 grounds for deportation under prior law. The
      Immigration and Nationality Act establishes some 700 grounds of
      deportation. Deportation cases, of course, develop from the activi-
20-cr-00134-RMP       ECF No. 78-6       filed 12/22/21      PageID.952 Page
          STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,         1954  251
    ties of investigators. In the light of the modest increase recommended
    in the investigative force, plus the added current emphasis upon
    deportation matters, a slight strengthening of the force engaged upon
    deportation work seems advisable. For the purpose of handling the
    tremendous additional burden arising in answering general inquiries
    from the public, Members of Congress, security agencies of the Gov-
    ernment, welfare organizations, and others, as well as to prepare and
    distribute revised manuals, operations instructions and other refer-
    ence material urgently needed by field officers charged with the task
    of enforcing the extremely complex provisions of the new act, the
    estimate includes 3 adjudicators and 8 clerks.
       I would like to move to naturalization, if I may, gentlemen.

           REFUSAL BY FOREIGN GOVERNMENTS TO ACCEPT DEPORTEES

       Senator DIRKSEN. I would like to ask one question about deporta-
    tion. How much difficulty, if any, do you experience on the part of
    foreign government in their refusal to accept deportees?
       Mr. MACKEY. We experience quite a bit of difficulty in that respect,
    Senator, and that is in the field of Mr. Kelly.
       Mr. KELLY. We have something in excess of 4,000 unenforcible
    orders of deportation at the present time because we cannot procure
    travel documents from the countries.
       Chairman BRIDGES. What do you do, Mr. Kelly, when you are con-
    fronted with that situation?
       Mr. KELLY. Well, we have aliens under parole supervision or under
    supervision, pursuant to Public Law 414. We are continually press-
    ing and using all the ingenuity we can to find some way of getting
    rid of them to some country or another. I may say that the provisions
    of the Internal Security Act, section 23, which has been repeated in
    Public Law 414, relating to the detention and parole supervision of
    aliens, has been a help. It has been our experience generally that any
    alien can leave the United States if lie wants to make the effort. He
    can, by his own efforts, get a travel document. I recall that during the
    year prior to the passage of the Internal Security Act we had gotten
    rid of 4 subversive aliens. You will note by the figures of last year
    that we got rid of 31 under subversive charges and a much larger
    number of subversives under ordinary documentary charges, by rea-
    son of the-I don't like to use the word harrass-compulsion that we
    were able to put on to them by keeping them in detention. And,
    making them report to us and keeping them under supervision after
    the order of deportation has become 6 months old.
                    COMPULSORY FEATURES OF ACT INVOKED

      Senator ELLENDER. Is there anything under the law you can do so
    aggravating that they want to leave the country?
      Mr. KELLY. As I say, we have done that.
      Senator ELLENDER. What is it?
      Mr. KELLY. By invoking the provisions.
      Senator ELLENDER. Can you not jail them?
      Mr. KELLY. We are holding them in detention.
       Senator ELLENDER. I thought this new act would give you full
    power to make conditions so distasteful they would not want to live
    in the United States. I would sure try it.
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.953 Page
        252 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
         Mr.   KELLY.   We have been faced since the initial passage of the
       Internal Security Act with a series of litigations, and we have won
       some good landmark cases, the Carlson case for example. In that
      interim, we were unable to detain them because most of these aliens
      were released under court bond. But we do have 15 of the oustand-
      ing subversives, alien subversives, who are not tied up in the Smith
      Act or other proceedings, in detention. We have those in whose cases
      the order is more, than 6 months old under very strict supervision
      and we are investigating them periodically. We hope that eventually
      the compulsory features which that act gives us will force many of
      these aliens out of the United States.

                                   UNENFORCIBLES

         Senator DRKSEN. Where are these 4,000 unenforcibles?
         Mr. KELLY. I may say that many of them are old, old cases. Some
      of these cases are 30 years old. In some cages the individual is very
      innocuous, and he is under parole under very limited conditions. Sub-
      versives, we have found, have no difficulty taking off for Poland or the
      U. S. S. R. or Yugoslavia. We have gotten rid of some very im-
      portant ones in the last couple of years through that device. In other
      words, Peter Harisiades, a Greek who had never resided in Poland
      went to Poland. Overmier, another outstanding Communist, by
      reason of the pressure we could put on him under the act, just recently
      elected to go to Poland. He had no difficulty, being a very active
      Communist, in getting a travel letter to go to Poland. But we our-
      selves could not get the necessary travel document to send him to
      Poland.
        Mr. MACKEY. May I go off the record?
        Chairman    BRIDGES.   Yes, sir.
         (Discussion off the record.)
        Chairman    BRIDGES.   All right, Mr. Mackey.
                               INVESTIGATIVE ACTIVITY

          Mr. MACKEY. May I go on to investigations, gentlemen? I will try
       to be as brief as possible.
          Last fiscal year all prior records of investigative activity by the
       Service was exceeded. Almost a half million investigations were com-
       pleted and the year closed with a backlog of some 143,000 cases as
      compared with approximately 47,000 that were pending when the year
      began. Increases were registered in almost all categories of investi-
      gations.
         During the year 6,114 investigative cases looking to deportation
      because of Communist membership or affiliation were completed.
      These cases represent a tremendous expenditure of manpower time.
      Over 11,000 of such Communist cases were pending at the close of the
      year. This is more than double the figure of 4,500 such cases which
      were pending as of the close of the prior year. These investigations
      in subversive cases produced last year 154 warrants of arrest and 106
      deportation warrants.
         There were transmitted to the field offices last year 110,000 cases in
      which the address reports submitted under the Internal Security Act
      could not be identified with any previous record. Prima facie the
20-cr-00134-RMP        ECF No. 78-6        filed 12/22/21       PageID.954 Page
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,           1954  253
    aliens involved are here in illegal status and amenable to deportation
    action. A backlog of 56,655 of these cases remained at the end of the
    year.
                          EFFECTS OF PUBLIC LAW 414

       The Immigration and Nationality Act increases extensively the
    investigative responsibilities of the service. The revised estimates pro-
    vide additions of 63 investigators and 25 clerks for such broadened
    responsibilities.
      We will only be able to scratch the surface with that, gentlemen.
    We certainly will not have effective investigation with only 63 addi-
    tional investigators. Among the more significant provisions of the
    new law, we are required to make a full field investigation in the case
    of every petitioner for naturalization. By removing the racial re-
    strictions on eligibility for citizenship, there will be many thousands
    of Japanese that are now applying for naturalization. Also, the alien
    is no longer required to have a first paper or make a declaration of
    intention to become a citizen. Under preexisting law, he had to file
    his declaration of intention and wait a period of 2 years before he was
    eligible for naturalization. That is not required now, although we do
    still issue declarations of intention to those aliens needing them in
    some States where they are required for fishing licenses and hunting
    licenses.
             INVESTIGATION OF PETITIONERS FOR NATURALIZATION

       The statute makes it mandatory, for the first time, that a personal
    neighborhood investigation be conducted in the case of each petitioner
    for naturalization except in cases or classes of cases in which the
    Attorney General waives such investigation. There can be no question
    but that the time to ascertain fitness for naturalization, possible sub-
    versiveness, et cetera, is certainly before, rather than after, naturaliza-
    tion. The so-called normal volume of naturalization petitions to
    be filed in 1954 is estimated at 112,000 and, as explained a few minutes
    ago under the discussion of naturalization, we have facing us an esti-
    mated immediate additional volume of 189,000 applications to file
    petitions. This takes into consideration the new applicants under the
    changes in the law concerning racial eligibility and requirements for
    declarations of intention, whenever any alien is issued a social-security
    account number and social-security card. For the first time our
    Service will be able to utilize this most valuable source of information.
       Right there, gentlemen, I wish to say we have been negotiating with
    Federal Security for some time on that. We would like them to revise
    their card form so that the card would make available the information
    we deem necessary, of course, to establish that the person is an alien.

                    ADMISSIBILITY   OF FORMER SUBVERSIVES

       The Immigration and Nationality Act permits an alien excludable
    on subversive grounds to enter the United States if he establishes to
    the satisfaction of the Attorney General that (1) for at least five im-
    mediate prior years he has actively opposed the subversive organiza-
    tion with which he was formerly connected and (2) his admission to
    the United States would be in the public interest. A detailed report
20-cr-00134-RMP       ECF No. 78-6         filed 12/22/21      PageID.955 Page
       254   STATE,   JUSTICE, AND COMMERCE APPROPRIATIONS,         1954


       must be made to Congress in the case of each alien so admitted. For
       security reasons the investigations in these cases must be exhaustive.
       While the volume will not be large, these cases will take up a great deal
       of investigative time.

                         MISCELLANEOUS      OTHER PROVISIONS

         Many other provisions of the new act expand the investigative work-
       load. The law adds new requirements for investigation in connection
       with new types of petition cases, new excludable classes, new deport-
       able classes, new mandatory grounds for denying discretionary relief
       to an alien and many other new requirements. These are spelled out in
       detail on pages 150 to 153 of the justifications before you. The most
       important single category of these is the new excludable grounds and
       deportable grounds empowering the Service to act in the cases of nar-
       cotic traffickers and narcotic addicts. The task of discovering and
       expelling from the United States aliens who are here illegally relates
       to internal security in our opinion, in a most literal sense.

                                    CENTRAL LIAISON

          The Immigration and Nationality Act requires the Service to main-
       tain "direct and continuous" liaison with the State Department's new
       Bureau of Security and Consular Affairs, the Federal Bureau of In-
       vestigation, the Central Intelligence Agency and other security offices
       of the Government.
          We do have that liaison at the present time, gentlemen, and it is
       proving very effective. We have always worked very closely with FBI
       and other intelligence agencies of the Government. Well, there it is,
       gentleien.
          Senator DIRKSEN (presiding). Do you have any further questions.
       Senator Ellender?
          Senator ELLENDER. No.
         Senator   DIRKSEN.    Senator Smith?
         Senator   SMITH. I    have no questions.
                                 MEXICAN-BORDER PATROL

          Senator ELLENDER. I was not here to listen to all that M-. Mackey
       liad to say. I am wondering how much you have been cut with respect
        o your border patrols on the Mexican border.
          Mr. KELLY. We requested an additional 335 positions. That has
       been revised, in addition to the 11 pilot positions we spoke of.
         Senator   ELLENDER.    How many have you been allowed?
         Mr. KELLY. None. In 1943 we had an authorized force of 1,637
       border-patrol officers. Today we have authorized 1,071.
         Mr. MACKEY. And they must be divided between the Mexican and
       Canadian borders and also the Florida area.
         Senator ELLENDER. I had particular reference to the Mexican
       border.
         Mr. MACKEY. I think, Mr. Kelly, we have around 700 on the Mexi-
       can border-at this time?
         Mr. KELLY. We have a total authorized force of 726. We, of course,
       never have that number of trained officers on duty. If you will break
20-cr-00134-RMP                   ECF No. 78-6                      filed 12/22/21                  PageID.956 Page
              STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                                             1954    255
    it down, you will find we never had available at any given time more
    than about 60 units.
       Senator ELLENDER. How many more of those you are asking for
    would be assigned to the 726?
       Mr. MACKEY. We are not asking for any.
       Senator ELLENDER. Are you being cut back on the ones you have
    now?
       Mr. KELLY. Just the 11 positions. The 11 positions that we have
    discussed here.
       Senator SMITH. And that cuts out the entire part of the air patrol?
       Mr. MACKEY. Yes. Take 720 men on a 24-hour basis, and when
    you consider their sick leave and annual leave, it cuts down tremen-
    dously the force available for duty at any one time.
       Senator SMITH. Where were most of the air patrols stationed?
       Mr. KELLY. We have 10 planes on the Mexican border and 2 planes
    in Florida.
                                             RENTAL OF PREMISES

      Chairman BRIDGES. Thank you very much, Mr. Mackey. We ap-
    preciate having you and your associates here today.
      For the record I want to insert a table on the rental of premises
    occupied by service personnel in border States.
      (The information referred to follows:)
    Rentals, Immigration and Naturalization Service, including land-inspeetion offices
     northern and southern border, United States oJ America, and border-patroloffices

                                                                     Annual rental
            Location                                                                                Paid by-
                                                                   Inspec-     Border
                                                                    tions      patrol


   St. Albans district,
       Maine:
           Dennistown --.--- Inspections ------------      $360 00                        General Services Adminis-
           Fort Kent_                                                                      tration.
                                    Sdo      --             270 00                            Do.
           H oulton .. ........ Border patrol -------                          $644.00       DO.
           Jackman -----------  -----do    -                335 00              600. 00       l)o.
           Madawaska .......Inspections          .........                                   I)o.
           Van Buren ---------Inspections and border        315.00                           Do.
                                   patrol.
           Vancehoro ------- Inspections -- -----           112.,50                          Do.
       New York.
           Clayton ------------  Inspections and border     375 00                           Do.
                                   patrol.
           Hogansburg --------Inspections ------------      276.00                             Do.
           Massena -------- Border patrol ----------                            378.00    Immigration and Natural.
                                                                                            ization Service.
           Ogdensburg     ....   .I Inspections-                    875 00                General Services Adminis-
                                                                                            tration.
          Rooseveltown ----------d o ------                        1,500.00                   Do.
          Thousand Island          d o ------
                                ....                               2,400.00                   Do.
            Bridge.
   Miami district'
      Arkansas, Blytheville-- Border patrol .......            -                300.00       Do.,
      Florida
          M iam i .............
                              -----d o --                                     4,800.00        Do.
          Perry ---- .------ I - do ....                                        300.00    Immigration and Naturali.
                                                                                            nation Service.
          West Palm Beach-         Border patrol and im-                      2,640.00    General Services Adminis-
                                    migration office.                                       tration.
      Louisiana:   New     Or-     Border patrol ...........                  2,400.00        Do.
       leans.
     See footnotes at end of table.



          31759- 53--17
20-cr-00134-RMP ECF No. 78-6 filed 12/22/21 PageID.957 Page
         256 STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954
       Rentals, Immsgration and Naturalization Service, including land-inspection offices,
         northernand southern border. United States ol America, and border-patroloffices-
         Continued

                                                                        Annual rental
                Location                             Use                                                    Paid by-
                                                                      Inspec-       Border
                                                                       tions        patrol

       Buffalo district:
          Buffalo. N. Y ----------
                                Bordes patrol .........                            $2,400.00      General Services Adminis-
                                                                                                   tration.
          Buffalo, N. Y. (Peace Inspections.............   $3,829.00                                 Do.
            Bridge).
          Niagara Falls, N. Y ---- Border patrol -----------                            900.00        Do.
               Rainbow Bridge .... Inspections -------------4,500.00                                  Do.
               Whirlpool Rapids ----- do ------------------ 1,500.00                                  Do.
                 Bridge.
       Detroit district:
          Detroit, Mich.:
               Detroit and Can- ...------
                                      do..............      4,000.00                                  Do.
                 ada Tunnel.
               Ambassador                                   1,023.00                                  Do.
                 Bridge.
          Trenton, Mich .......    Border patrol -----------                            216.00    Immigration and Naturali-
                                                                                                    zation Service.
       Chicago district:
           Minnesota:
              Lancaster ..........      Inspections ------------        240.00                    General Services Adminis-
                                                                                                   tratirn.'
              Pigeon River ..... ---do-- - - - - - - - 3,375.00                                      Do.3
              Pinecreek .......... ----do ................   300.00                                  Do.
              R oseau -------------    doo -----------------
                                   -----
                                       d
                                   -----   ................  300.00                                  Do.
              Winton ..........                              240.00                                  Do.2
           North Dakota:
              Antler -------------     d o -- - - - - - - -
                                   -----
                                                             156.00                                    Do.'
              Bottineau .......... Border patrol........                             360.00       Immigration and Naturaliza-
                                                                                                    tion Service.
               Carbury -----------
                                Inspections .............               180.00                    General Services Adminis-
                                                                                                    tration.'
              Dunseith........    ---- do ................              456.00                         Do.2
              Fortuna ------------   - do                               216.00                         Do.'
              Hannah ............ -----do..........                     265.00                       Do s
              Hansboro -------            -   do.                       216.00                       Do.'
               Maida ...........       B----
                                           dorder-patro   -             300.00                       Do.'
               Sarles -------------    --- dot          -               240.00                       Do.'
              Walhalla ---------                                        210.00                       Do.'
       Seattle district:
           Washington:
               Kettle Falls -.---       Border patrol ---------                      300.00       Immigration and Naturaliza-
                                                                                                    tion Service.
              Northport..--.-.          Inspections ------------ 900.00                           General Services Adminis-
                                                                                                    tration.
           Montana:
             M alta ------------
                               Border patrol .------                                    172. 80   Immigration and Naturaliza-
                                                                                                    tion Service.
               Opheim............                                       576.92                    General Services Adminis-
                                                                                                    tration.
               Shelby -------------                                                  480.0        Immigration and Naturaliza
                                        Inspections ......    ----                                  tion Service.
               Turner ...........                                       150.00                    General Services Adminis-
                                                                                                    tration.
               W hitetail ---------     ----d o     ----------
                                                             ------     150.00                         Do.
       San Antonio District:
           Texas:
              Eagle Pass ---------   do .................
                                  ----                                2, 365. 00   -.      00....     Do.
                  Do     - -- - - Border patrol ---.---
                         .-                                                                       Immigration and      Naturali-
                                                                                                    zation Service.
               Edinburg --.----- ----d o ------------------     -----------     , 120.00              Do.
               El Indio ----------- .... d o ------------------ .-----------       4240.00            Do.
               Falffurrias ----------
                                    ----d o --------- - - ---        -.---------   4420.00            Do.
               Hebbronville ----------- d o ------------------ ---- -------4300.00                    Do.
               Hidalgo ------------  Inspections ----- -----       6,102.00 .......               General Services     Adminis-
                                                                                                    tration.
               La Feria ........... Border patrol ...---------------            , 600.00 Immigration and               Naturali-
                                                                                                    zation Service.
               Langtry - ----------- ....d o -----.---------- --------             4 120.00           Do.
               Laredo ---- ---------  ---do ................. -............ .500.00 General Services                   Adminis-
                                                                                                    tration
               M cAllen -----------  Border patrol and de-        ..........     4 1,115.00 Immigration and            Naturali-
                                       tention facility.                                            zation Service.
               Mercedes ------- Border patrol ....             - ---         ..        720.00         Do.
               Quemado --------- -----   d o ------ ----        -----------          '     °84.00     Do.
               Raymondville -of-t-  -----d o ------- ---------         ------- 660.00                 Do.
       See footnotes at end of ti
20-cr-00134-RMP                   ECF No. 78-6                   filed 12/22/21      PageID.958 Page
               STATE, JUSTICE, AND COMMERCE                             APPROPRIATIONS, 1954 257
    Rentals, Immcgration and Naturalization Service, including land-cnspection offices,
      northern and southern border, United States of America, and border-patroloffices-
      Continued

                                                                    Annual rental
              Location                            Use                                               Paid by-
                                                                 Inspec-       Border
                                                                  tions        patrol

    San Antonio District-Con.
        Texas--Con.
             Rio Grande City...     Inspection -------------- $510.00                       General Services    Adminis.
                                                                                              tration.
                                  Border patrol ........
                  D o -------------                                             $420.00     Immigration and     Naturali.
                                                                                              zation Service.
                                Inspections ...........
             Rom a --------------                                   420.00                  General Services    Adminis-
                                                                                              tration.
             Spofford .........     Border patrol........                        150. 00    Immigration and     Naturall.
                                                                                              zation Service.
             Weslaco ---------- ----d o -----------.......                       420. 00         Do.
             Zapata -------------Inspections ------------- 306.00                           General Services    Adminis
                                                                                              tration.
                                  Border patrol .-----
                  D o -------------                                             4120.00     Immigration and     Naturali-
                                                                                              zation Service.
    El Paso district:
        Arizona:
            Casa Grande .....       ----- d o ------------------------          540. 00         Do.
            Gila Bend ------        ----- do ...............   ...... .         360.00          Do.
            Phoenix ..........        Inspections ............  5,669.90.1.....             General Services Administra-
                                                                                             tion.
        New Mexico:
           Columbus .......             do ...............
                                    -----                           430.00                  Immigration and Naturaliza-
                                                                                              tion Service.
           H atch --------------Border patrol........                            144.00          Do.
        Texas:
           El Paso ............ Inspections, etc -------- 19, 800.00                        General Services Admmistra-
                 Do -------------
                                                                                              tion.
              ----              Border patrol........                           4 282.00    Immigration and Naturaliza-
                                 -----d o -----------------                                   tion Service.
             Alpine ...........  -----d o -----------------                      240.00          Do.
             Fabens -------------                                                300.00          Do.
             Fort Hancock ---- ---do ...............                             300.00          Do.
             Presidio ------------Inspections - -- -------          378.00                  General Services Administra-
                                                                                              tion.
             Ysleta ...........      Border patrol.-----                         240.00     Immigration and Naturaliza-
                                                                                              tion Service,
    Los Angeles district:
        California:
            Andrade ...........     Inspections ...........         120.00                  General Services Administra-
                                                                                              tion.
             Calexico ---------      Border r atrol -------                      360 00     Immigration and Naturaliza.
                                                                                              tion Service.
             Chula Vista -----      .....
                                        d o --------------                     1.200.00          Do.
             San Luis Obispo_       Inspections ----------        1,260. 00                 General SerN ices Administra-
                                                                                              tion.
             Temecula .........      Border patrol ----------                    450.00     Immigration and Naturaliza-
                                                                                              tion Service.
                                                                     30 00    11,771.80         Do.
    All locations ----------                                     67,072.32    16,184.00     General Services Admmistra-
                                                                                             tiol.
          Total --------------. I---------------------           67,102.32    27, 955. 80

       I Immigration and Naturalization Service reimburses General Services Administration until amount
    can be included in their appropriation.
         Immigration and Naturalization Service now reimburses General Services Administration. General
    Services Administration will absorb amount in their 1954 appropriation.
      3 Immigration and Naturalization Service reimburses General Services Administration in amount of
    $2,955 p. a. until funds can be provided in General Services Administration appropriation.
      4 Rental for land only, on which buildings have been erected by Government.


       Chairman BRIDGES. I have received the following statement from
    Miles D. Kennedy, director, national legislative commission, the Amer-
    ican Legion, which relates to the Immigration and Naturalization
    Service. The statement will be made a part of the record at this
    point.
20-cr-00134-RMP        ECF No. 78-6           filed 12/22/21        PageID.959 Page
      258    STATE, JUSTICE, AND COMMERCE APPROPRIATIONS,                  1954

         (The statement referred to follows:)
      STATEMENT OF C. H. OLSON, ASSISTANT DIRECTOR OF THE NATIONAL LEGISLATIVE
                         COMMISSION, THE AMERICAN LEGION
          Mr. Chairman and gentlemen of the committee, the American Legion appreci-
      ates and welcomes this opportunity to come before your committee in support of
      appropriations for the Department of Justice as they apply to the Immigration
      and Naturalization Service.
          We do not pose as experts in the many ramifications surrounding the imple-
      mentation and enforcement of the Internal Security Act of 1950, or the Immigra-
      tion and Nationality Act. However, during recent years we had close associa-
      tion with Mr. Watson B. Miller, former Commissioner of the Immigration and
      Naturalization Service, while he was in the employ of the American Legion as
      special consultant to the national commander. From him we learned to know
      something about the responsibilities and functions of that Service.
          The records will show that our organization has long had a deep interest in
      Americanism. The American Leaion, like all other oreanizations who lo, k tn
      the good of this Nation and its people, deplores infiltration into this country by
      exponents of subversive activities, or by those whose previous associations
      render them susceptible to the influences and lures of those, already here, who
      attempt to spread doctrines inimical to our welfare.
          During the time the McCarran-Walter measure was under study in the
      Congress, the national executive committee of the Legion adopted a resolution
      placing the support of our organization behind the bill. That support was freely
      given and may have been most helpful in the final passage of the act. The resolu-
      tion referred to is No. 18. It was adopted at the regular meeting of the national
      executive committee in November 1951. Proponents of the resolution presented
      their case on the basis that the proposed law would provide:
          "(1) A system of selective immigration within the national-origins-quota
      system is established, geared to the needs of the United States.
          "(2) More thorough screening especially of security risks is provided.
          "(3) Structural changes are made in the enforcement agencies for greater
      efficiency.
          "(4) The exclusion and deportation procedures are strengthened.
          "(5) Naturalization and denaturalization procedures are strengrthened to
      weed out subversives and other undesirables from citizenship."
          When Public Law 414 was enacted, the membership of the American Legion
      was fully aware of the need for additional funds and manpower on the part
      of the Immigration and Naturalization Service if the job of implementation
      and enforcement were to be adequately done. Please bear in mind that Public
      Law 414 was one of the last acts of the 82d Congress, and it was the opinion
      of the Legion that any additional funds required by the Immigration Service
      for implementation and enforcement of the act had not been provided in 1953
      appropriations (Public Law 495, funds for State, Justice, Commerce).
          With the above in mind, the American Legion adopted resolution No. 607 at
       its 1952 national convention. Said resolution reads as follows:
          "Whereas, the Internal Security Act of 1950 and Public Law 414 known as
       the McCarran-Walter bill has caused added enforcement responsibilities in the
       Immigration and Naturalization Service; and
          "Whereas, sufficient funds have not been allocated to the Service to cover
      the additional personnel necessary to handle this added workload: Now there-
      fore he it
          "Resolved by the American Legion at national convertion a 3sembled at New
      York City, August 24-28, 1952, That sufficient additional funds be assigned and
      allocated by the Congress of the United States to the Immigration and Naturali-
      zation Service as to permit full enforcement of the provisions of these laws that
       designate the Immigration and Naturalization Service as the enforcement
       agency."
          You will note that the membership of the Legion did not attempt to distinguish
      between the responsibilities of the Immigration Service so far as the two laws
       are concerned. They asked for sufficient additional funds for both purposes.
          Public Law 414 and the Internal Security Act of 1950 became laws by a vote
       of more than two-thirds of the membership of both Houses present and voting.
       We feel that the vote was an expression of the will of the people. We assume
       at this time that the will of the same people demands adequate enforcement of
      both laws. That cannot be done without help.
20-cr-00134-RMP     ECF No. 78-6 filed 12/22/21 PageID.960
           STATE, JUSTICE, AND COMMERCE APPROPRIATIONS, 1954 259 Page
         If all who attempt to sneak into this country around the law, should suddenly
      decide to fully comply with the law, the problems of the Immigration ant
      Naturalization Service would be much easier. Perhaps they could cope with
      all requirements without further help. But there is no use in kidding ourselves
      about such an idealistic situation.
         Today, on 15,000 miles of border and coastline, we have about 1,000 men whose
      job it is to prevent infiltration of all people, good or bad, into this country in
      evasion of our laws. At this point we ask particular attention be given to the
      2,200 miles of land and water border between San Ysidro, Calif., and Brownsville,
      Tex. Much of our concern is with this thinly protected frontier where the
      Immigration Service not only has to deal with many of our southern neighbors
      who wish to come to our country as lawful immigrants, workers, or visitors, but
      with hundreds of thousands of their countrymen who, one way or another, seek
      to gain admission to the United States for whatever their purpose be. Perhaps
      even more important than that is the probability that this particular border
      frontier offers rather easy avenues of infiltration for the subversives or agents
      of countries other than those predominantly of the Latin race.
         We appreciate that all the problems of the Immigration Service are not on the
      Mexican border. There is also room for concern about the possibility of flagrant
      violation of the law by persons on Puerto Rico and adjacent islands. Here, it
      seems, a comparatively simple falsification of birth records opens wide the door
      to United States residence on a citizenship-by-birth basis. Communism is not
      selective; it has followers among all races.
         It is reliably reported that in 1949 nearly a half million people who had gained
      illegal admission to this country were apprehended. That is a known quantity.
      A guess at the number of those who escaped apprehension would require crystal-
      ball gazing of considerable magnitude. Estimates of those who illegally enjoy
      the freedom of this country vary. Some believe the number to be in the millions.
         In further onsideratioi of the task of oUr border 4nards, ve nost recognize
      that 24-hour-per-day vigilance is required. No person can be expected to work
      24 hours each day. On top of that there is the hazard of the work which fre-
      quently requires these inel to work in pairs at least. Reducing those figures
      to facts we find that we have little more than a sieve of protection through
      which illegal entries have and are being made.
         The mileposts of protection are far apart indeed; the borders are practically
      open.
         It is not our ititeit or desire to become involved in the money or personnel
      equations of the Immigration and Naturalization Service. That is a matter
      for the 1Departmtent of .Jjustice to propose and defend before the Congress. At
      this point I wish to state that we do not have a single iota of information from
      the Immigration Service with reference to their 1954 iudger considerations.
      We do know, hiwever,.that there is a niriiniumun basepoint for efficient operation
      and enforcement of the laws under consideration,       lelow which the job cannot
      be done in a manner deserving of credit or th, confidence of the people of this
      country.
         As representatives of the American Legion, an organization recognized as a
      strong force in the fight to preserve the ideologies of our Government, we sin-
      cerely urge your committee to take tirn steps toward providing sufficient funds
      to itnplement and guarantee the enforveleilt of publicc Law 414 and the Internal
      Security Act of 1950.
         Chairman BRIDGES. Will you come up please, Mr. Bennett.

                                   BURFAU OF PRISONS

      STATEMENTS OF J. V. BENNETT, DIRECTOR, AND P. G. SMITH,
        BUDGET OFFICER, FEDERAL PRISON SYSTEM, DEPARTMENT OF
        JUSTICE
                                    AM' 1T1'r REQUESTED

        Chairman BRIDGES.         M1r. Bennett, we are happy to have you with
     us this morning. - The appropriation that we are now considering is
     for the Bureau of Prisons. The original Truman official budget was
     $26,390,000. The revised estimate is $25,785,000, a decrease of
     $605,000. This compares with the 1953 adjusted figure of $25,525,000.
